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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                                Louisville Division
                          **ELECTRONICALLY FILED**

JANE DOE,                                      )
                                               )
                                  Plaintiff,   )
                                               )
v.                                             )
                                               )
                                               )
THE SUPREME COURT OF KENTUCKY,                 )     CIVIL RIGHTS COMPLAINT
    Serve: Office of the Attorney General      )      JURY TRIAL DEMANDED
           Andrew Graham Beshear               )
           700 Capital Ave, Rm 118             )           CASE NUMBER:
           Frankfort, KY 40601                 )          3:19-cv-00236-GNS
                                                   _______________________________
           andrewbeshear@yahoo.com             )
                                               )
THE KENTUCKY BAR ASSOCIATION,                  )
    Serve: John D. Meyers, Exec. Director      )
           514 W. Main St.                     )
                                               )
           Frankfort, KY 40601
                                               )
           jmeyers@kybar.org                   )
                                               )
THE KENTUCKY BOARD OF BAR                      )
EXAMINERS,                                     )
    Serve: Gerald F. Dusing, Chairman          )
           514 W. Main St.                     )
           Frankfort, KY 40601                 )
           gdusing@aswdlaw.com                 )
                                               )
THE KENTUCKY OFFICE OF BAR                     )
                                               )
ADMISSIONS,
                                               )
   Serve: Elizabeth Susan Feamster             )
          1510 Newtown Pike, #156              )
          Lexington, KY 40511                  )
          elizabethf@kyoba.com                 )
                                               )
THE KENTUCKY BAR CHARACTER AND                 )
FITNESS COMMITTEE,                             )
    Serve: Chairman Grant Helman               )
           514 W. Main St.                     )
           Frankfort, KY 40601                 )
                                               )
           ghelman@helmanrice.com
                                               )
                                               )
THE KBA BOARD OF GOVERNORS,                    )
    Serve: Douglas Ballantine                  )

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           2000 PNC Plaza                    )
           500 W. Jefferson St.              )
           Louisville, KY 40202              )
           douglas.ballantine@skofirm.com    )
                                             )
                                             )
THE          KENTUCKY            LAWYERS’
                                             )
ASSISTANCE PROGRAM FOUNDATION,               )
INC.,                                        )
      Serve: 3300 LLC                        )
             Jeffery A. McKenzie             )
             3500 PNC Tower                  )
             101 S. 5th Street               )
             Louisville KY 40202             )
             jmckenzie@bgdlegal.com          )
                                             )
                                             )
ELIZABETH SUSAN FEAMSTER, Individually
                                             )
and in her Official Capacity as Director and )
General Counsel of KYOBA/KBA,                )
      Serve: 1510 Newtown Pike, #156         )
             Lexington, KY 40511             )
             elizabethf@kyoba.com            )
                                             )
PAMELA           YVETTE         HOURIGAN,    )
Individually and in her Official Capacity as )
Director of KYLAP,                           )
      Serve: 514 West Main Street            )
                                             )
             Lexington, KY 40601
                                             )
             yhourigan@kylap.org             )
                                             )
GRANT HELMAN, in his Official Capacity as )
Chair of the KBA Character and Fitness )
Committee,                                   )
        Serve: 514 W. Main St.               )
               Frankfort, KY 40601           )
               ghelman@helmanrice.com        )
                                             )
SUSAN COLEMAN LAWSON, in her                 )
                                             )
Official Capacity as Member of the KBA
                                             )
Character and Fitness Committee,             )
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             Frankfort, KY 40601             )
             susan.lawson96@gmail.com        )
                                             )
GARY DUDLEY PAYNE, in his Official           )
Capacity as Member of the KBA Character      )
and Fitness Committee,                       )
      Serve: 514 W. Main St.                 )


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            Frankfort, KY 40601                )
                                               )
DAVID BRYAN SLOAN, in his Official             )
Capacity as Member of the KBA Character        )
and Fitness Committee,                         )
                                               )
     Serve: 514 W. Main St.
                                               )
             Frankfort, KY 40601               )
             dsloan@oharataylor.com            )
                                               )
KRISTEN NORTHCUTT, in her Official             )
Capacity as Deputy Director of the Kentucky    )
Office of Bar Admissions,                      )
     Serve: 1510 Newtown Pike, #156            )
             Lexington, KY 40511               )
             kristen@kyoba.org                 )
                                               )
                                               )
LISA LARKEY, in her Official Capacity as
                                               )
Exam Administrator of the Kentucky Office of   )
Bar Admissions,                                )
     Serve: 1510 Newtown Pike, #156            )
            Lexington, KY 40511                )
            lisal@kyoba.org                    )
                                               )
STEPHANIE THOMAS, in her Official              )
Capacity as Application Analyst of the         )
Kentucky Office of Bar Admissions,             )
     Serve: 1510 Newtown Pike, #156            )
                                               )
            Lexington, KY 40511
                                               )
            stephanie@kyoba.com                )
                                               )
AND OTHER UNKNOWN DEFENDANTS,                  )
INDIVIDUALLY    AND IN   [THEIR]               )
OFFICIAL CAPACITY,                             )
                       Defendants.             )
                                               )


                                      COMPLAINT

       COMES NOW, the Plaintiff, by and through the undersigned counsel, BRITT

STEVENSON, and files this cause of action against Defendants, THE KENTUCKY SUPREME

COURT (“SCOKY”), and its administrative agencies, KENTUCKY BOARD OF BAR

EXAMINERS (“KBBE”), KENTUCKY OFFICE OF BAR ADMISSIONS (“KYOBA”),



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KENTUCKY BAR ASSOCIATION (“KBA”), KENTUCKY BAR CHARACTER AND

FITNESS COMMITTEE (“CFC”), THE KBA’S BOARD OF GOVERNORS (“KBG”),

KENTUCKY LAWYERS’ ASSISTANCE PROGRAM (“KYLAP”) and the following persons:

ELIZABETH SUSAN FEAMSTER (KYOBA and KBA Director/General Counsel), PAMELA

YVETTE HOURIGAN (KYLAP Director), GRANT HELMAN (CFC Chair), SUSAN C.

LAWSON (CFC), GARY D. PAYNE (CFC), DAVID B. SLOAN (CFC), KRISTEN

NORTHCUTT (KYOBA), LISA LARKEY (KYOBA) and STEPHANIE THOMAS (KYOBA),

and avers as follows:

                                   JURISDICTION & VENUE

        1.      This Honorable Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1343, The Americans with Disabilities Act (“ADA”), 42 U.S.C. 12131-12134, and its

implementing regulation, 28 CFR Part 35, and § 504 of the Rehabilitation Act of 1973, as

amended, 29 U.S.C. §§ 701 et seq. (“RA” and “§504”).

        2.      Supplemental jurisdiction over state law claims is pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in the Western District of Kentucky, Louisville Division,

pursuant to 28 U.S.C. §§ 1391(b)(2) as the events and/or omissions giving rise to the Plaintiff’s

claims occurred and are occurring within this judicial district.

                                           THE PARTIES

        4.      The Plaintiff requests anonymity to prevent further injustice. Plaintiff is an

attorney, first licensed to practice law in Florida in 2006, and conditionally licensed in Kentucky

as of April 28, 2016. Plaintiff is a resident of the State of Kentucky, residing in the Western

District. Plaintiff is a person with a qualifying disability and is otherwise sui juris.

        5.      Defendant, The SCOKY, was created in 1975 by state constitutional amendment

(Section 110). SCOKY has exclusive jurisdiction to regulate the admissions of persons to the

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practice of law. SCOKY has discretion to review, approve and create rules governing bar

admissions and membership. SCOKY, and its affiliated agencies, are “state entities” within the

definitions of Title II of the ADA, 42 U.S.C. § 12131(1).

       6.      Defendant, The KBA, was created by SCOKY in SCR 3.025 (1980), and defines

itself as “an independent agency of [SCOKY]” on its website. Defendant, KBG, is the elected

governing body of the KBA. The KBA is a “commercially-oriented organization” operating with

federal tax exemption under § 501(c)(6) of the IRS Code of 1954. The KBA possesses the sole

authority to regulate lawyers in Kentucky. The KBA consists of approximately 18,720 active and

inactive attorneys. According to KBA financial statements dated June 30, 2017, the KBA is

“adequately covered by insurance or by accruals when determinable.” The KBA is a “state

entity” for purposes of ADA analysis.

       7.      Defendant, The KBBE, administers the bar examination and oversees bar

admission qualifications, procedures and related issues. The KBBE is a “state entity” for

purposes of ADA analysis.

       8.      Defendant, The KBA’s CFC, is an administrative board within the SCOKY which

conducts hearings and makes character and fitness determinations regarding member

applications and disciplines attorneys after admission for allegations of malpractice and other

bad acts. For purposes of ADA analysis, the CFC is a “state entity”.

       9.      Defendant, GRANT HELMAN, is an attorney and the chair of the CFC. He

conducts hearings investigating the character and fitness of KBA applicants and members.

Helman reports the CFC’s findings and conclusions to SCOKY. The CFC makes determinations

regarding the admission, conditional admission, suspension and revocation of bar members’

licenses. Helman is being sued in his official capacity.




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       10.     Defendant, SUSAN C. LAWSON, is an attorney and member of the CFC. She

conducts hearings investigating the character and fitness of applicants and members of the KBA.

She reports findings and conclusions to SCOKY affecting the admission, conditional admission,

suspension and revocation of Kentucky law licenses. Lawson is being sued in her official

capacity.

       11.     Defendant, GARY D. PAYNE, is an attorney and member of the CFC. He

conducts hearings investigating the character and fitness of applicants and members of the KBA.

He reports findings and conclusions to SCOKY affecting the admission, conditional admission,

suspension and revocation of Kentucky law licenses. Payne is being sued in his official capacity.

       12.     Defendant, DAVID B. SLOAN, is an attorney and member of the CFC. He

conducts hearings investigating the character and fitness of applicants and members of the KBA.

He reports findings and conclusions to SCOKY affecting the admission, conditional admission,

suspension and revocation of Kentucky law licenses. Sloan is being sued in his official capacity.

       13.     Defendant, KENTUCKY OFFICE OF BAR ADMISSIONS (“KYOBA”)

analyzes member applications and conducts investigations, with the power to divert applications

to the CFC for further review. KYOBA works in conjunction with the CFC to recommend

admission to candidates which show good character and fitness standards. In accordance with

SCR 2.002 (7), “[e]ach member of the Board and the Committee and each employee given

responsibility by the Board and the Committee for the receipt or disbursement of funds shall be

bonded in an amount specified by the Board and the Committee”. KYOBA is a “state entity”.

       14.     Defendant, ELIZABETH FEAMSTER is an attorney and member of the KBA

acting as General Counsel and Director of the KBA, CFC, KBBE, KYOBA and other entities

within the KBA. She is sworn to uphold justice and discourage discrimination in the




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administration of her duties. Feamster is being sued in both her official, and individual,

capacities.

        15.     KRISTEN E. NORTHCUTT is the KYOBA Deputy Director, and she is being

sued in her official capacity.

        16.     LISA LARKEY is the KYOBA Exam Administrator, and she is being sued in her

official capacity.

        17.     STEPHANIE THOMAS is the KYOBA Application Analyst, and she is being

sued in her official capacity.

        18.     Defendant, KYLAP and/or “THE KYLAP FOUNDATION” is a Kentucky

corporation designated as a 501(c)(3) nonprofit entity created pursuant to SCOKY order SCR

3.910(8) to “assist Kentucky's lawyers, law students and judges who suffer from impairments

including drug, alcohol, or other addictions, depression, and other mental health disorders.”

KYLAP is a “state entity”.

        19.     Defendant, PAMELA YVETTE HOURIGAN (“Yvette”) (KYLAP Director), was

paid by the KBA a salary of $81K in 2018. Hourigan is responsible for executing orders of

conditional agreements mandated by SCOKY and its affiliated entities (i.e. CFC, KYOBA and

KBBE). Hourigan is an attorney licensed by the KBA and acting Director of KYLAP with

reporting capability that influences the KBA’s membership decisions. She is sworn to uphold

justice and discourage discrimination in the administration of her duties. Hourigan is being sued

in both, official and individual, capacities.

                                         INTRODUCTION

        20.     Congress created the Americans with Disabilities Act (“ADA”) to address

arbitrary and irrational discrimination against disabled persons, and those regarded as having

disabilities, so that no qualified individual with a disability shall, by reason of such disability, be

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excluded from participation in, or be denied the benefits of, the services, programs, or activities

of a public or “state entity”, or be subjected to discrimination by any such entity.

        21.     The Kentucky Supreme Court (“SCOKY”) created The Kentucky Bar Association

(“KBA”) to govern the admission and discipline of attorneys in the state. The KBA is a “state

entity” under the ADA.

        22.     Plaintiff is resident of Jefferson County, Louisville, Kentucky that sought

admission to her home state bar in 2016 after practicing law in Florida for ten years in good

standing. The KBA regarded Plaintiff as unfit and/or lacking sufficient character after she

revealed her Bipolar I Disorder diagnosis on her bar application. After passing the exam and

submitting personal medical records, she received a “conditional admission” to practice law from

the KBA. If Plaintiff wished to practice law, she would have to agree to conditional admission

and submit to intrusive monitoring by the Kentucky Lawyers’ Assistance Program (“KYLAP”)

for three (3) years.

        23.     When Plaintiff raised concerns with the arduous agreements as being non-

compliant with her rights under the ADA, she was subjected to retaliation and punishment from

the KBA and KYOBA, by and through its Director and General Counsel, Elizabeth Feamster,

and KYLAP, by and through its Director, Yvette Hourigan, as well as the members of the KBA’s

Character and Fitness Committee (“CFC”), Grant Helman, Susan Lawson, Gary Payne and

David Sloan.

        24.     Plaintiff, in good faith, sought to rectify the KBA’s misplaced concerns for 28

months, hired counsel, negotiated terms, complied with the KBA’s investigations, responded to

orders to show cause, appeared at hearings, paid bar dues, completed continuing education

requirements, signed contracts, made disclosures, revealed private medical records, minded the




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KBA’s residency restrictions and forwent employment opportunities to no avail. Plaintiff was,

ultimately, wrongfully suspended from legal practice for 853 days.

       25.     The conditional licensing scheme utilized by the KBA causes lawyers to be

automatically categorized as unfit and/or lacking character required to practice law if they report

certain medical history information. Attorneys regarded as having disabilities are subjected to

more investigations and punitive conditions than applicants reporting no disability. Disabled

applicants are faced with either abandoning the profession or acquiescing to unnecessary and

intrusive investigations of their medical history, including deeply personal treatment notes.

Attorneys with bipolar diagnoses are ordered to submit to monitoring by KYLAP, regardless of

whether or not the attorney has committed acts that would otherwise justify monitoring or

punishment. KYLAP monitoring is required even where a disabled person’s physician sees no

need for such probationary treatment.

       26.     Plaintiff’s KBA membership was contingent upon two agreements: 1) a three-year

conditional admission with monitoring by the bar and 2) a concurrent KYLAP monitoring

agreement after she passed the Kentucky Bar Exam in February of 2016. However, when

Plaintiff requested ADA-compliant agreements, the KBA and KYLAP retaliated.

       27.     Plaintiff’s conditional admission agreement with the KBA required her to sign a

contract full of boilerplate conditions applied to attorneys with criminal histories (i.e., DUI

conviction or drug abuse), as opposed to an agreement tailored to address her disability

disclosures. The state defendants and its agents required her to forego her medical privacy,

submit to frequent monitoring, inform employers of her contract and its underlying reasons,

allow communication between the KBA/CFC/KYLAP/KYOBA and all physicians, permit

inspection of medical records past and present, live within the state of Kentucky for the term of

the agreement, submit to random substance/alcohol mouth-swab testing, submit to additional

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investigations each time she left the state more than one week, seek the bar’s permission to

accept work out-of-state and other conditions.

        28.      Plaintiff raised concerns to the KBA and KYLAP leadership regarding the

provisions of the KBA and KYLAP agreements unrelated to her health disclosures. Plaintiff

made good faith efforts to fully comply in order to practice law and support herself financially.

Plaintiff was maliciously prosecuted for raising concerns about her KYLAP and KBA contracts.

Hourigan specifically, maliciously and purposefully retaliated against Plaintiff for raising ADA

concerns with her KYLAP agreement. Feamster specifically, maliciously and purposefully

retaliated against Plaintiff, and suspended her from the practice of law.

        29.      Plaintiff demanded unconditional admission in July of 2018, after the KBA,

again, violated the ADA in regard to its investigation of Plaintiff. The KBA granted her demand

for full, unconditioned admission on August 28, 2018, 853 days after she was sworn in to

practice law on April 28, 2016.

        30.      Plaintiff seeks compensatory and punitive damages, compensation for expenses,

payment of attorney fees and other legal relief for the deprivation of her due process and equal

protection rights, violations of the Americans with Disabilities and Rehabilitation Acts,

intentional discrimination, improper interference with contractual relations, intentional infliction

of emotional distress, defamation, malicious prosecution and other violations of state and federal

civil rights acts.

        31.      State bar associations may investigate an attorney applicant’s character and fitness

to make admissions and disciplinary decisions, and it is an important public service for them to

do so. However, state entities that license professionals cannot conduct investigations and punish

disabled people without a reasonable basis for doing so. State entities have ample power to




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conduct investigations upon members and applicants; but they may not investigate nor discipline

its members in violation of federal, or its own state laws.

       32.      People with Bipolar Disorder and other mental illnesses may not be disabled in

the sense that they are unable to perform work duties. Studies show that a) there is a higher ratio

of lawyers and doctors with mental illness concerns than the general public, b) it may derive

from motivation or intelligence, or exposure to trauma and c) treatment is helpful. Bipolar and

depressed professionals also fear treatment because they are often stigmatized and “regarded as

having a disability” in their state professional association if they disclose a history of mental

health issues, diagnosis or treatment.

       33.      Only a small minority of state bar associations in the U.S. inquire about mental

health treatment on applications for admission. Even fewer treat bipolar applicants as lacking

character, professionalism, fitness or sobriety because of their illness. A small handful, like the

KBA, 1) inquires, 2) then conditions membership and 3) punishes those with Bipolar disorder

even if there is no behavioral or medical reason for its actions.

       34.      The state defendants and its agents are a state entity that discriminates against

applicants and members on the basis of disability, in violation of the ADA, when it (1) makes

discriminatory inquiries regarding mental health diagnoses and treatment; (2) subjects applicants

to burdensome and costly investigations; (3) mandates disclosure of confidential and protected

medical      documentation    without    necessity;    (4)    makes   discriminatory   admissions

recommendations based on stereotypes; (5) enforces boilerplate conditional admission,

monitoring contracts, unnecessary medical evaluations and financial burdens upon people with

disabilities; (6) requires disabled members to reside within the state during their conditional

licensing term, (7) requires alcohol and drug testing of disabled members absent evidence of

abuse, (8) fails to provide adequate confidentiality protections during the admissions process; (9)

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implements burdensome, intrusive and superfluous conditions on admission that are improperly

based on individuals’ mental health diagnoses or treatment; and, among other conduct stated

herein, (10) retaliates against disabled applicants for requesting ADA-compliance.

       35.     Plaintiff is an experienced attorney licensed in two states, with a diagnosis of

Bipolar I Disorder, a qualifying disability under the ADA. She is regarded as having a disability

and stigmatized on the basis of her diagnostic label. She applied to take the February 2016

Kentucky Bar Exam, complied with all disclosure requirements and passed the exam. However,

because she disclosed her mental illness, she was subjected to strenuous and costly

investigations, and only offered conditional admission.

       36.     Plaintiff was sworn-in to the KBA on April 28, 2016. Plaintiff advised the KBA’s

General Counsel Feamster and Hourigan, KYLAP Director, that their standardized agreements

for conditional admission and monitoring were inconsistent with the ADA and requested

amendments. Plaintiff was unable to independently negotiate with the KBA and hired counsel to

negotiate for fair agreements with the KBA and its affiliated non-profit entity, KYLAP. In

retaliation, the KBA suspended Plaintiff from practicing law for 853 days and prosecuted “show

cause” actions moving for her permanent revocation.

       37.     In July of 2018, after two CFC hearings, the KBA continued to make demands for

Plaintiff’s medical records and treatment notes, and the KBA suggested that an independent

medical examination may be required. Since December of 2015, Plaintiff sent six (6) medical

records releases and three (3) letters from experts stating that she was in good health and fitness

to practice law without concern for public or personal safety.

       38.     On August 13, 2018, Plaintiff demanded full and unconditional bar admission,

threatened this litigation and, again, expressed ADA-related concerns with the KBA and KYLAP

policies. After her 853-day-long fight for her livelihood, the KBA abandoned its prosecutions to

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permanently revoke Plaintiff’s Kentucky bar license. The KBA granted her full and

unconditioned licensure on August 28, 2018. To date, she remains duly licensed in good standing

without conditions in two states.

        39.     The KBA has denied responsibility for Plaintiff’s injuries caused as a result of its

discriminatory conduct which impugned her professional character and halted her earning

capabilities.

                                 BACKGROUND AND FACTS

        40.     Plaintiff was born and raised in the Commonwealth of Kentucky. She graduated

from college at a Kentucky university in 2003, then attended law school and practiced in Florida

from 2006 to present.

        41.     Plaintiff was diagnosed with Bipolar I Disorder in 2014 after experiencing mania

while taking a prescribed antidepressant medication. Without any prior history of illness,

Plaintiff began experiencing manic episodes and behaving out of character, although never

harmful to herself nor others.

        42.     Plaintiff worked in government and private practices in Florida before returning

home to Kentucky in 2014 for treatment near family members.

        43.     At all times pertinent to this lawsuit, Plaintiff was in good standing with the

Florida Bar.

        44.     At all times pertinent to this lawsuit, Plaintiff remains a qualified individual with

a disability, and/or she is regarded as having a disability by the Defendants. Plaintiff suffers from

a mental impairment and/or has a record of impairment which substantially limits one or more of

her major life activities.

        45.     The Florida Bar, concerned with social media posts by Plaintiff, placed her in a

diversion program contract to be monitored by the Florida Lawyers’ Assistance Program (FLAP)

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for three years (2015 – 2018) whereby Plaintiff’s Kentucky physician would monitor and report

to the FLAP physicians.

          46.   Since her diagnosis, the Plaintiff’s medical doctors have encouraged and

recommended her to continue in the legal profession without concerns for her, nor the public’s,

safety.

          47.   Plaintiff’s psychiatrist monitored her progress and reported prescription and

therapy compliance to the FLAP director from 2015 to 2018.

          48.   Plaintiff’s FLAP agreement did not require residency in Florida, substance testing

nor disclosures to her employers.

          49.   On June 15, 2018, Plaintiff was released from her Florida diversion agreement,

completing all conditions and obtaining a letter from her physician indicating her full compliance

with treatment. Plaintiff never violated her FLAP agreement and Plaintiff was never prohibited

from practicing law in the state of Florida.

          50.   On December 9, 2015, Plaintiff submitted an online application to the KBA, and

otherwise complied with SCR 2.022, requesting the KBA’s approval to sit for the February 2016

bar exam. Florida does not reciprocate bar admission with other states.

          51.   The KBA’s application process required Plaintiff to disclose, in questions 31

through 37, that she had a history of depression treatment and Bipolar I Disorder. In compliance

with full disclosure and candor requirements of the KBA, Plaintiff responded in good faith

(italicized below) to the KBA’s questionnaire:

                “31. (1) Within the past five years, have you engaged in any
                conduct that: (1) resulted in an arrest, discipline, sanction or
                warning; (2) resulted in termination or suspension from school or
                employment; (3) resulted in loss or suspension of any license; (4)
                resulted in any inquiry, any investigation, or any administrative or
                judicial proceeding by an educational institution, government
                agency, professional organization, or licensing authority, or in

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          connection with an employment disciplinary or termination
          procedure or (5) endangered the safety of others, breached
          fiduciary obligations, or constituted a violation of workplace or
          academic conduct rules? If you answered yes, furnish a thorough
          and detailed explanation below, including the relevant date{s).

                 Yes.

          31. (2) If you answered "yes", explain below, specifically
          including any asserted defense or claim in mitigation or as an
          explanation of your conduct as well as all relevant documentation.

                  I was terminated from employment, as previously
                  disclosed, from [redacted] work was no longer
                  available. In regard to the [redacted], I was
                  terminated from employment [redacted] in
                  accordance with a prior agreement at the time of
                  my employment offer. [Redacted.] I was not given
                  the impression that my conduct was at issue, but
                  rather the needs of the [redacted] company.

          32. Within the past five years, have you exhibited any conduct or
          behavior that could call into question your ability to practice law in
          a competent, ethical and professional manner?

                  In 2014, I was put on an antidepressant medication
                  by [redacted] which caused me to go into mania
                  shortly thereafter. In a manic phase, I made
                  comments [redacted] on social media. [redacted]
                  civil offense [redacted], the Florida Bar inquired
                  regarding my behavior. After explaining such
                  behavior and releasing medical documentation to
                  the [FLAP], I was permitted to have the complaint
                  diverted to [FLAP] for three years. I now pay a fee
                  to be a… [FLAP] participant and attend regular
                  meetings with my physician who reports to
                  [FLAP]. I was not reprimanded, suspended or
                  further disciplined.

          The purpose of the following questions is to aid the Character and
          Fitness Committee in determining the current fitness of an
          applicant to practice law and meet the professional responsibilities
          of a lawyer. The Committee treats all information confidentially;
          the mere fact of treatment, monitoring or participation in a support
          group is not, in itself, a basis on which admission is denied. The
          Committee on Character and Fitness routinely certifies individuals
          for admission who have demonstrated personal responsibility and

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          maturity in dealing with fitness issues. The Committee encourages
          applicants who may benefit from assistance to seek it. The
          Committee does not seek Information that is fairly characterized as
          situational counseling. Examples of situational counseling include
          stress counseling, domestic counseling, and grief counseling and
          counseling for eating and sleeping disorders. On occasion,
          certification may be denied or deferred when an applicant's ability
          to function is impaired in a manner relevant to the practice of law
          at the time that the licensing decision is made, or when an
          applicant demonstrates a lack of candor by his or her responses.
          This is consistent with the public purpose that underlies the
          licensing responsibilities assigned to the [CFC] and the Board of
          Bar Examiners; further, each applicant is responsible for
          demonstrating that he or she possesses all of the qualifications to
          practice law.

          33.     Do you currently have any condition or impairment
          (including, but not limited to, substance abuse, alcohol abuse, or a
          mental, emotional, or nervous disorder or condition) that in a
          material way affects your ability to practice law in a competent,
          ethical and professional manner. "Currently" means recently
          enough that the condition or impairment could reasonably affect
          your ability to function as a lawyer. If your answer is no, please
          skip question 34 and proceed to question 35.

                 Yes.

          34.    If your answer to Question 33 is "yes", are the limitations
          caused by your condition or impairment reduced or ameliorated
          because you receive ongoing treatment or because you participate
          in a monitoring or support program?

                 I have a diagnosis of Bipolar I Disorder. This
                 diagnosis was unknown to me prior to 2014. In
                 2014, [redacted] physician put me on an
                 antidepressant which soon thereafter caused a rare
                 reaction of mania. I was hospitalized, stabilized and
                 diagnosed with Bipolar I. I have been under the
                 treatment of [redacted] and since becoming
                 stabilized, I have remained stabilized and
                 committed to my medications and physician's
                 advice.

          35. Within the past five years, have you ever raised the issue of
          consumption of drugs or alcohol or the issue of a mental,
          emotional, nervous, or behavioral disorder or condition as a
          defense, mitigation or explanation for your actions in the course of

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          any administrative or judicial proceeding or investigation; any
          inquiry or other proceeding; or any proposed termination or
          suspension by an educational institution, employer, government
          agency, professional organization, or licensing authority?

                 Yes.

          If your answer is "Yes", furnish a thorough explanation below.
          Include pertinent names, addresses, dates and references to
          records, as appropriate:

                 With regard to the Florida Bar inquiry regarding
                 comments unbecoming of an attorney that I made
                 on social media while manic in 2014 (as previously
                 discussed), I raised the defense of my manic state
                 induced by SSRI/antidepressant medications. After
                 seeking medical treatment, it became clear that this
                 highly uncharacteristic behavior was likely mania
                 (dormant Bipolar II disorder that became mania
                 when taking antidepressants as prescribed by my
                 doctor without a mood stabilizing medication).
                 Since my diagnosis as Bipolar I (the diagnosis after
                 a single manic attack), I have been successfully
                 treated for over one year utilizing mood stabilizing
                 medication and uncharacteristic behavior has not
                 continued. The Florida Bar was understanding of
                 my circumstances and diverted my case to the
                 [FLAP] monitored by [redacted].

          36. a) Do you currently have any condition or impairment
          including, but not limited to, (a) any related substance or alcohol
          abuse, or (b) a mental, emotional, or nervous disorder or conditions
          not reported above which in any way affects or If untreated could
          affect your ability to perform any of the obligation and
          responsibilities of a practicing attorney in a competent and
          professional manner? "Currently" means recently enough so that
          the condition could reasonably have an impact on your ability to
          function as a practicing attorney.

                 No.

          36. b) If your answer to Question 36(a) is "Yes", are the limitations
          or impairments caused by your condition or impairment reduced or
          ameliorated because you receive ongoing treatment (with or
          without medication) or because you participate in a monitoring
          program?


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                       N/A

               37. a) Have you been declared legally incompetent within the last
               five (5) years?

                       No

               37. b) If yes, please provide an explanation.

                       N/A”

       52.     On December 9, 2015, as required by the KBA application, Plaintiff mailed two

(2) notarized medical records releases allowing the KBA, and its affiliated entities and agents,

complete access to her personal and private medical records, including treatment notes.

       53.     On December 10, 2015, Plaintiff supplemented her KBA application with a

certificate of good standing from the Florida Bar Association that revealed no public discipline

since Plaintiff’s admission in April of 2006.

       54.     On December 17, 2015, Plaintiff received the following email from Kristen E.

Northcutt, Deputy Director of KYOBA:

               “Your application to sit for the February 2016 KY Bar Exam has
               been referred to me for further review. I noticed while reviewing
               your file that you are currently involved with the Florida Lawyers
               Assistance Program, more specifically, you are being monitored by
               Dr. [Redacted]. Can you please provide a medical release form for
               him? The sooner we receive this release form, the sooner I can
               move forward on your file…”

       55.     On that same day, Plaintiff returned a third medical records release, signed and

notarized, via emailed PDF, to Northcutt granting complete access to FLAP monitoring records.

       56.     On December 29, 2015, Plaintiff received an email from “NoReply@kyoba.org”

confirming that her supplemental application requirements were complete.

       57.     On January 7, 2016, Northcutt emailed Plaintiff:

               “As you know, during the review process of your February ’16 KY
               Bar Exam application, we sent out a letter to Dr. [Redacted] to

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               obtain a copy of your medical records from being treated by him.
               As of today, we have not received a copy of your records. I am
               unable to complete a thorough review of your application without
               these records. Is it possible for you to contact Dr. [Redacted] to
               inquire about the status of our request? The deadline to have this
               documentation into our office is 1/20/16.

               I will be out of the office beginning tomorrow thru Tuesday,
               January 19th. I have copied your bar application analyst, Stephanie
               Thomas, on this email so that you can be in touch with her while I
               am out. Please respond to the both of us.”

       58.     On January 7, 2016, Plaintiff replied:

               “Hello Ms. Northcutt and Ms. Thomas, I met with Dr. [Redacted]
               earlier this week and he said that he would be fulfilling the records
               request promptly so you should have them soon. I believe he was
               waiting on our appointment to talk with me beforehand. I will also
               call to double check that it is being handled.
               Thank you.”

       59.     On January 15, 2016, Thomas responded that “[w]e have not received your

records as of today.”

       60.     On January 15, 2016, Plaintiff, provided an individually-tailored letter from her

psychiatrist to assure the KBA of her compliance with medical advice, prescription instructions

and FLAP contract requirements. Plaintiff did so in order to avoid practice limitations, delays for

further CFC investigation(s) and/or punitive sanctions from the KBA. The physician’s letter

stated that Plaintiff is compliant with treatments and expected to function professionally while

under treatment without risk to herself or others.

       61.     Under ADA guidelines pertaining to the depth of permitted inquiry, this

physician’s letter should have been sufficient to conclude the KBA’s investigation. Despite this

letter, the state defendants and its agents continued its investigation.




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       62.     On January 19, 2016, Plaintiff was required to send a broader medical records

release form to Stephanie Thomas, KYOBA Application Analyst, which permitted the KBA

access to inpatient records, outpatient records and treatment notes.

       63.     On February 3, 2016, Deputy Director Kritsten Northcutt sent the following

message to Plaintiff:

               This letter will serve as notice that you will be permitted to sit for
               the February 2016 Kentucky Bar Examination under Waiver
               pending a hearing before the Character & Fitness Committee. Your
               February 2016 bar examination results will remain sealed and will
               not be released to you unless and until you receive a favorable
               recommendation from the Committee certifying you from a
               standpoint of character and fitness for admission to the
               Kentucky Bar.

               Enclosed is a waiver for you to sign and return to our office within
               seven days of the date of this letter. You will receive formal notice
               of a hearing before the Committee as soon as a date has been set.
               If you have any questions regarding this matter, please feel free to
               contact me.
                                                                  (Emphasis added.)

       64.     The attached waiver agreement read as follows:

                        “KENTUCKY OFFICE OF BAR ADMISSIONS
                          CHARACTER & FITNESS COMMITTEE

               BAR EXAMINATION DATE: February 23 & 24, 2016

               I __________ understand that I am being permitted to take the
               Kentucky Bar Examination even though the Character and Fitness
               Committee has not completed its character and fitness background
               investigation to determine my eligibility at this time.

               I understand that I will not be informed as to my bar results until
               such time as the Committee certifies to the Board of Bar examiners
               that I meet the character and fitness requirements set forth in SCR
               2.011, and as provided for in SCR 2.040.

               I further understand that in the event that the Character and Fitness
               Committee does not certify me, my bar results will not be released
               and shall remain sealed.”


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       65.    On February 8, 2016, having no other options, the Plaintiff signed and notarized

the agreement, and returned it to KYOBA.

       66.    On February 23 and 24, 2016, Plaintiff took the Kentucky Bar Examination in

Lexington, Kentucky.

       67.    On March 28, 2016 Plaintiff received a “consent agreement” for conditional

admission from the KBA stating that she could not practice without, among other conditions, 1)

a KYLAP agreement; 2) continued compliance with FLAP; 3) quarterly reporting to the CFC; 4)

physician and treatment compliance; 5) proof of compliance submissions; 6) disclosures of

information regarding “adverse incidences”; and 7) residency in Kentucky for the entire period

of the agreement unless relocation is for employment and the KBA approves. Plaintiff had no

option but to sign the agreement so she could practice law. Plaintiff signed in good faith and

sought to negotiate a fair agreement with KYLAP that would operate similarly to her existing

FLAP agreement.

       68.    On March 28, 2016, Plaintiff signed the conditional admission agreement,

returned it to the KBA and contacted KYLAP.

       69.    Plaintiff provided Hourigan with a copy of her FLAP agreement for use in

crafting her KYLAP agreement and forwarded the January 15, 2016 letter from her physician to

Hourigan’s office.

       70.    On March 28, 2016, the Plaintiff sent Hourigan the following email:

              “I am a recent Kentucky Bar Applicant with a prior bar license
              from Florida [redacted]. I have bipolar disorder, which has been
              maintained with my psychiatrist effectively since my diagnosis in
              2014. I am currently in compliance with a contract with [FLAP]
              and see my [Dr.] [redacted].

              Since I am seeking admission to the Kentucky Bar, I have also
              been ordered to formulate an additional contract with your


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              organization in order to comply with conditions of admission to the
              Kentucky Bar.

              I would appreciate your assistance in formulating a contract
              regarding the continued treatment with [redacted]. We have found
              my medications to be effective and I… remain optimistic that I'm
              on the right track.

              I have attached the contract and letter received today from the bar.
              I will be signing and notarizing these documents for return within
              the ten day period required. I wanted to reach out to you ASAP to
              assure we have enough time to get the contract to the bar. I hope to
              hear from you soon.

              I would appreciate your guidance on the next steps I need to take.

              Thank you in advance for your assistance…”

       71.    On March 28, 2016, Plaintiff called KYLAP and spoke with Program

Administrator, Ashley Beitz, regarding her circumstances, and followed with an email with her

FLAP agreement attached for Hourigan’s review:

              “Hi Ms. Beitz,

              Thank you so much for taking a moment to talk to me about your
              program's contracts generally via phone. As discussed, I'm
              attaching my clinical contract with the Florida Lawyers' Assistance
              Program. I was diagnosed Bipolar in 2014 following a manic
              attack that was due to use of an antidepressant prescribed by
              [redacted]. Thereafter, I was diagnosed Bipolar, and the bar sought
              to investigate [redacted] in 2014. Since that time, I've been
              committed to my health and under the care of [redacted],
              [redacted] in [redacted].

              I look forward to speaking with you more about my contract with
              [KYLAP].

              Thank you,
              [Plaintiff]
              Clinical Contract1.docx 22K (Attached)”

       72.    On March 20, 2016, Beitz responded:

              “Thank you, [Plaintiff]! I'll forward this to our director and I'll try
              to get back to you by the end of this week.”

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       73.        On March 30, 2016, Hourigan wrote an email to Plaintiff requesting to “meet in

person, if that is possible” and asked about Plaintiff’s travel plans to major Kentucky cities.

       74.        On March 31, 2016, Plaintiff replied that she was not scheduled to be in

[Redacted] as she lived in [Redacted] but she would be available to drive out-of-town to meet if

necessary. Plaintiff also suggested a video conference meeting as a possible option.

       75.        Hourigan assured Plaintiff that her KYLAP agreement would be similar to her

FLAP agreement, and would not limit work in and out of Kentucky. Hourigan further assured

Plaintiff via telephone she would craft an agreement tailored to her diagnosis whereby Hourigan

would be Plaintiff’s monitor. Hourigan told Plaintiff that she could telephone/text her check-ins

to comply with monitoring. Hourigan requested a copy of Plaintiff’s FLAP agreement be

emailed to her.

       76.        On April 8, 2016, Plaintiff learned she had passed the Kentucky bar exam and

tendered payment for prorated dues and the fee for the swearing-in ceremony scheduled in

Frankfort for April 28, 2016 ($104.90).

       77.        On April 13, 2016, after no word from Hourigan or KYLAP staff for two weeks,

Plaintiff emailed Hourigan again to schedule the required in-person meeting and suggested dates

for meeting. The Plaintiff and Hourigan agreed to meet prior to the swearing-in ceremony.

       78.        On April 13, 2016, the parties verbally discussed the KYLAP agreement and how

it would be crafted to mirror Plaintiff’s FLAP agreement. The KYLAP agreement was to require

no additional conditions nor monitors.

       79.        Hourigan wrote that she “really just want[ed] to meet with [Plaintiff] and talk for

a little while” and stated that she “would like to have the agreement prepared and to [Plaintiff]

prior to our meeting”. Hourigan again requested a copy of Plaintiff’s FLAP agreement. Hourigan


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stated that the meeting would not take long, and suggested the parties meet at 8:30 a.m. on April

28, 2016 at Plaintiff’s Frankfort hotel.

       80.     On April 14, 2016, Plaintiff received a response from Hourigan indicating that she

did, in fact, previously receive the FLAP agreement, but she had forgotten she had received it.

Hourigan also inquired regarding Plaintiff’s FLAP monitor information.

       81.     On April 26, 2016, Plaintiff had still not received the proposed KYLAP

agreement as promised. Plaintiff emailed Hourigan to confirm the April 28, 2016 meeting.

       82.     On April 28, 2016, Hourigan sent a text message that she would be at Plaintiff’s

hotel by 8:15 AM. Hourigan, thereafter, texted that she would be running late and that they

would meet on the steps of the Capitol.

       83.     Within minutes of her swearing-in, a discussion ensued, within earshot of other

bar applicants between Plaintiff and Hourigan outside of the Capitol entry doors wherein

Plaintiff was required to publicly discuss the KYLAP contract and Plaintiff’s health matters with

Hourigan. These matters should have been discussed in private.

       84.     Hourigan presented a proposed KYLAP agreement that was not crafted as

promised; requiring “random drug testing” and mouth swab testing for alcohol. Plaintiff has

never had issues with drugs or alcohol. These, and other provisions, were unjustified.

       85.     Plaintiff expressed objections and informed Hourigan that she would not sign the

proposed agreement because it was boilerplate and reflected a KYLAP agreement for someone

with drug and alcohol issues. Plaintiff also informed Hourigan that the agreement violated her

rights under the ADA, that such conditions were unjustified, and the ADA does not permit the

disabled to be treated like criminals.




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       86.     Hourigan indicated that the alcohol testing provisions were standard KYLAP

conditions, and that her research showed that Plaintiff’s prescribed medications required alcohol

abstinence.

       87.     One fellow applicant, hearing the discussion between Plaintiff and Hourigan,

asked Plaintiff about the meeting. Plaintiff was again embarrassed and humiliated that her private

information had been presented in a public forum.

       88.     Pending a KYLAP agreement, Plaintiff was unable to practice law. Between April

28, 2016 and May 2, 2016, Plaintiff continued attempts to reach an agreement with Hourigan

without success.

       89.     On April 28, 2016, Hourigan requested a fourth medical records release from

Plaintiff, and Plaintiff complied by sending a release to each Hourigan and her physician.

       90.     On May 5, 2016, Plaintiff, hearing nothing, contacted Hourigan via email, stating:

               “Hi Yvette, I just wanted to write and check in with you to see if
               you had had a moment to speak with my doctor or get the
               documents necessary to redraft my contract. I'm anxious to start
               working as an attorney and I am aware that I cannot do so until I
               have signed that contract with you.

               If there is anything that I can do to expedite records or perhaps a
               request for Dr. [Redacted] to contact you, please just let me know
               and I will reach out to his office or send him an email. I hope
               you're having a great Derby week! [Redacted]”.

       91.     Between May 5, 2016 and May 10, 2016, Plaintiff and Hourigan exchanged

emails regarding discussions with the doctor. Hourigan asked Plaintiff to have her physician

contact her directly.

       92.     Plaintiff arranged for a call between Hourigan and her physician on May 9, 2016.

On May 10, 2016, Plaintiff sent Hourigan the following email:




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               “Hello, Were you able to connect with Dr. [Redacted] yesterday?
               If needed, his office number is [Redacted]. Let me know if there's
               more I can do. Thanks, [Plaintiff]”

       93.     On May 9, 2016, Plaintiff’s physician called at the scheduled time, but Hourigan

did not answer. He was forced to leave a message.

       94.     On May 10, 2016, Plaintiff emailed Hourigan to check status, and Hourigan

replied:

               “Hey [Plaintiff]. I was waiting for him to call me but he hasn't. I
               have been in and out of Louisville today for the convention and
               will be back there the rest of the week. I will call him tomorrow
               just to try to catch him or leave my number. It will be difficult to
               speak privately while I'm in Louisville but I can take time to talk to
               him if he has time. I will try to get with him tomorrow. Thank you.
               Yvette”.

       95.     During this time, Plaintiff lost several opportunities to work for private clients and

law firms. Plaintiff was forced to leave a position at a private law firm wherein her continued

employment required her to be eligible to practice.

       96.     Plaintiff’s physician and Hourigan discussed that he did not recommend the

alcohol provision, as he did not see its necessity nor justification.

       97.     On May 16, 2016, Hourigan refused to acknowledge the physician’s opinion, and

sent Plaintiff the following email:

                       “I have had the opportunity to speak with Dr. [Redacted]
               regarding your use of alcohol while taking medications for
               treatment of bi-polar disorder. KYLAP's practice is to require
               abstinence when individual lawyers are being treated for mental
               health issues and particularly when any medications are being
               taken. Alcohol is contra-indicated for [Redacted]. I see no reason
               to deviate in this instance. Hence, the abstinence provision will
               remain in your supervision agreement with KYLAP. Please sign
               the agreement and return it to me at your earliest convenience. You
               may email a signed copy digitally, but please also return the
               original by mail. Dr. [Redacted]'s quarterly reports should begin
               effective July 1, 2016. For your convenience, another copy of the
               form he should submit is attached.”

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       98.    Hourigan disregarded the physician’s qualified opinion, and sought the imposition

of boilerplate and punitive conditions without medical evidence. Hourigan acted in an illegal and

intentionally discriminatory manner, and violated provisions of the ADA.

       99.    On June 2, 2016, Plaintiff retained Peter Ostermiller to represent her in regard to

Kentucky bar admissions.

       100.   On June 6, 2016, Hourigan notified Lisa Larkey of KYOBA that Plaintiff was in

violation of her conditional admission contract, requesting an order to show cause to punish

Plaintiff for refusing to sign Hourigan’s unlawful KYLAP contract. Hourigan wrote:

              “Dear Ms. Larkey:

              Please be advised that [Plaintiff] timely contacted me upon
              returning to Kentucky and submitting her application for Kentucky
              admission. We met on April 28, 2016, the morning of her swearing
              in ceremony in Frankfort.

              We reviewed the Supervision Agreement KYLAP had prepared in
              response to the request of the Office of Bar Admissions, after
              having reviewed her agreement with Florida. Ms. [Plaintiff]
              questioned some of the terms of the agreement, and asked that I
              speak with her treating psychiatrist in [Redacted], Dr. [Redacted],
              before she signed the agreement. With her [HIPAA]-compliant
              authorization, I spoke with Dr. [Redacted], and was satisfied with
              the content of the Supervision Agreement as written.

              I notified Ms. [Plaintiff] on May 16, 2016, that the agreement was
              appropriate pursuant to her medical diagnosis and my conversation
              with Dr. [Redacted]. A copy of the proposed agreement is
              enclosed. I did not receive a response. I e-mailed Ms. [Plaintiff] on
              May 24, 2016 and asked her to return the agreement if she hadn't
              already done so. Again I have received no response. I have not
              heard from Ms. [Plaintiff], and she has not responded to my e-
              mails. I have not received a signed copy of the Supervision
              Agreement. Ms. [Plaintiff] is not under KYLAP supervision at this
              time. Thank you for the opportunity to be of service. Please call me
              if you have any questions.”

       101.   On June 14, 2016, KBA General Counsel Feamster, wrote to Plaintiff:


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               “On March 29, 2016, you signed a Consent Agreement with the
               Character and Fitness Committee to be admitted to the Kentucky
               Bar on a conditional basis. You agreed to comply with the
               provisions set forth in that agreement. This letter is to inform you
               that now that you have been admitted to the Kentucky Bar, your
               Consent Agreement is now in effect and to remind you of your
               obligation to comply with that Agreement.

               As of the date of this letter, you are out of compliance with your
               Consent Agreement as you have not yet returned a signed copy of
               your Supervision Agreement back to Yvette Hourigan, Director of
               [KYLAP]. You must submit a signed copy of the attached
               Supervision Agreement within 7 days of the date of this letter to
               Yvette Hourigan with copy to the Character and Fitness
               Committee. If no response is received from you, an order to show
               cause will be issued as to why your license should not be revoked.
               If you have any questions regarding this matter, feel free to contact
               me.”

       102.    Ostermiller initiated first contact with the KBA, and, on June 21, 2016, Feamster

replied to Ostermiller:

               “Here is a copy of the consent agreement [Plaintiff] signed with
               this office, in case you do not have it. Also, please confirm with
               me that [Plaintiff] is not practicing. We can’t have her practicing
               and arguing about a KYLAP agreement.”

       103.    Between April 28, 2016 and August 28, 2018, the Plaintiff was not practicing law

in the Commonwealth of Kentucky.

       104.    On July 5, 2016, Ostermiller responded to Feamster:

               “Dear Beth:

               This letter is a follow up to my previous telephone call to you and
               our email exchange. I was retained by Ms. [Plaintiff] after she
               received your letter of June 14, 2016. Thank you for providing me
               an extension to respond to your letter on behalf of Ms. [Plaintiff].

               I have conferred with Ms. [Plaintiff] regarding your letter and
               underlying matters. The core issue appears to be the KYLAP’s
               request that the KYLAP Supervision Agreement concerning Ms.
               [Plaintiff] contain an abstinence requirement.




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          Such a condition would be beyond required in the resolution of the
          Florida disciplinary proceeding, and more importantly, would be
          beyond the treatment guidelines provided by Ms. [Plaintiff]’s
          treating physician, Dr. [Redacted], a psychiatrist practicing in
          [Redacted].

          A number of the matters set out in this letter is background
          information and other information which has been provided
          previously by email and/ or by telephone conversations with
          KYLAP and the Kentucky Office of Bar Admissions, and
          information and documentation reflected in the material Ms.
          [Plaintiff] previously provided to the Character and Fitness
          Committee. However, I thought it appropriate to set out the
          framework regarding Ms. [Plaintiff’s] physician, based on her
          treating physician’s recommendations and guidelines, and the
          actual events which have occurred subsequent to the unfortunate
          events in 2014.

          In particular, in 2014, Ms. [Plaintiff] was prescribed an anti-
          depressant. She received a serious adverse reaction to that
          prescribed medication causing a period of mania. That period of
          mania, ultimately diagnosed as a Bipolar I disorder, lasted for
          approximately four months. During that period, Ms. [Plaintiff]
          [redacted] was investigated by the Florida Bar and ultimately
          resulted in the diversion agreement with the Florida Bar. The
          diversion program in Florida included Ms. [Plaintiff’s]
          participation in Florida’s version of KYLAP with a Supervision
          Agreement, providing for monitoring.

          Ms. [Plaintiff] has remained in full compliance with that diversion
          program and her Florida Lawyers’ Assistance Program
          participation since that time. At all times, Ms. [Plaintiff] has been,
          and remains, under the care of a treating healthcare professional.
          Her current treating physician is Dr. [Redacted].

          As set out in more detail below, Dr. [Redacted] has not required
          that Ms. [Plaintiff] abstain from the consumption of alcohol
          notwithstanding the medications which had been prescribed for
          her. Furthermore, her Florida Lawyers Assistance Program
          agreement does not require abstinence.

          Ms. [Plaintiff] has not had any history of substance abuse or
          alcohol abuse or addiction. She also has no criminal record,
          [redacted] disclosed in Florida and now Kentucky. Ms. [Plaintiff]
          began treatment for the prescription-induced bipolar condition in
          August of 2014. Over the intervening years, Ms. [Plaintiff] has
          been prescribed different medications. In November of 2014, Ms.

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          [Plaintiff] was prescribed [redacted] for a bipolar disorder. Ms.
          [Plaintiff]... [Redacted]. She [redacted] under the care of Dr.
          [Redacted]. [Redacted] medications “may” cause drowsiness, and
          the warning label [redacted] indicate[s] that alcohol “may” make
          such drowsiness worse. No one person reacts the same way to any
          particular medication, as to type, dosage, frequency of use, etc.

          Medication, the combination of medication, interactions with other
          medications, etc., are all factors which are appropriately left to the
          treating healthcare provider, in this case, Dr. [Redacted]. During
          the initial stage of [Plaintiff]’s treatment in 2014, from around
          September to December of 2014, she was prescribed medications
          different than her current medication. For that 2014 medication,
          she was expressly advised to abstain from consuming alcohol. Ms.
          [Plaintiff] had severe allergic reactions to those earlier
          medications, including difficulty in walking, major rashes
          requiring prednisone treatment, and involuntary tick and rocking
          movements.

          Ms. [Plaintiff’s] medications were eventually changed to her
          current medications, for which alcohol abstinence is neither
          required nor suggested. A certain level of alcohol consumption has
          been deemed medically acceptable, and Ms. [Plaintiff] has been
          advised that she was permitted to drink alcohol on occasion.
          [Redacted]. Ms. [Plaintiff’s] compliance with [redacted]… she has
          not been a chronic alcohol abuser nor is she addicted to alcohol.

          Her adverse health condition was caused not by poor lifestyle
          choices or improvident life choices. Instead, her adverse health
          condition was the result of an adverse effect from prescribed
          medication from 2014. As a result, Ms. [Plaintiff] has been, and
          remains,    appropriately   compliant     with    all  treatment
          recommendations of her treating healthcare provider.

          As you know, Ms. [Plaintiff] sought admission by examination in
          Kentucky in December of 2015. As part of that process, in late
          March of 2016, she entered into a Consent Agreement with the
          Kentucky Office of Bar Admissions. The relevant terms of that
          Consent Agreement included her continuing compliance with the
          Florida Lawyers’ Assistance Program and her Florida diversion
          agreement, and for her to continue to see her treating physician and
          comply with the advice of her physician. She has at all times
          remained compliant with [FLAP], her diversion program in
          Florida, and she remains compliant with the treatment
          recommendations of Dr. [Redacted].




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          Another condition of that March, 2016 Consent Agreement was
          that Ms. [Plaintiff] was to contact KYLAP and to enter into a
          KYLAP Agreement. In particular, the Consent Agreement
          indicated that Ms. [Plaintiff] was to contact KYLAP and to discuss
          the terms of a KYLAP Supervision Agreement. Ms. [Plaintiff]
          made that contact and entered into discussions with KYLAP
          concerning the terms and provisions of a Supervision Agreement.
          Ms. [Plaintiff’s] discussions with KYLAP began at the end of
          March of 2016, and continued into April of 2016. On April 8,
          2016, Ms. [Plaintiff] was advised that she had passed the Kentucky
          Bar Examination.

          On April 28, 2016, KYLAP tendered to Ms. [Plaintiff] a proposed
          Supervision Agreement. However, the KYLAP Supervision
          Agreement contained a term not required in her Florida Lawyers
          Assistance Program Agreement nor a condition required by her
          treating physician, Dr. [Redacted]. In particular, the tendered
          KYLAP Supervision Agreement contained an abstinence
          provision. However, there is no medical basis for that abstinence
          condition and such a condition is contrary to the advice and
          guidance provided by her treating healthcare provider, Dr.
          [Redacted]. The concern of Ms. [Plaintiff] regarding the position
          taken by KYLAP, is that the abstinence condition is based on the
          bipolar disorder diagnosis of Ms. [Plaintiff] and the nature of the
          medication she is taking. However, such a basis for an abstinence
          condition disregards or materially minimizes not only the medical
          opinion of Dr. [Redacted] that abstinence is not required, but is
          also inconsistent with the historical activity of Ms. [Plaintiff]
          without adverse incident, since 2014.

          In particular, Ms. [Plaintiff], consistent with the treatment
          recommendations of Dr. [Redacted], has been able to safely and
          appropriately consume moderate amounts of alcohol as noted
          earlier in this letter.

          In May of this year, as KYLAP continued to take the position that
          Ms. [Plaintiff]’s diagnosis and medication were sufficient to
          require abstinence, Ms. [Plaintiff] became concerned that the
          position of KYLAP ran afoul of the [ADA]. In particular, Ms.
          [Plaintiff] was concerned that a medically-unsupported condition
          to admission, which went beyond the directives of her physician,
          was a limitation on admissions of practice of law which may not be
          imposed on an applicant without violating the ADA.

          As a result, in May of 2016, Ms. [Plaintiff] contacted the
          Department of Justice to make a complaint under the ADA. The
          undersigned has conferred with Ms. [Plaintiff], and it appears to

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          the undersigned that Ms. [Plaintiff]’s pursuit of such an
          administrative remedy is likely premature at this time since the
          proceedings before the Character and Fitness Committee remains a
          pending matter subject to a review by the Supreme Court.

          However, the proposed imposition of an additional burden to
          admission not medically-supported, and the improper emphasis on
          a mental health condition, rather than the actual conduct of the
          person with the condition, is troubling. Ms. [Plaintiff] has also
          advised that the Character and Fitness Committee has requested
          that Ms. [Plaintiff] agree to a three year residency requirement
          should she obtain a license in Kentucky. I do not understand the
          legal basis for such a requirement. Ms. [Plaintiff] is licensed in
          Florida, and remains compliant with her diversion program from
          Florida.

          And, although Ms. [Plaintiff] presently resides in [Redacted],
          Kentucky, she has also worked in other States. Furthermore, a
          residency requirement would appear to be inconsistent with the
          concepts of lawyer mobility, especially for an attorney who is
          already licensed in Florida. Ms. [Plaintiff] respectfully submits that
          her health condition, properly addressed with medication, and her
          moderate consumption of alcohol, which has occurred for a
          number of years, does not have any real or tangible effect on her
          ability to practice law. An abstinence requirement, beyond being
          outside of the recommendations of her treating healthcare provider,
          is also inconsistent with the long period of time Ms. [Plaintiff] has
          been on the current medications and consume alcohol in moderate
          amounts.

          A quote from Julius Caesar seems particularly appropriate:
          “Experience is the teacher of all things.” More to the point, Ms.
          [Plaintiff], having been on her medications for an extended period
          of time, while at the same time consuming moderate amounts of
          alcohol, all with the knowledge of her treating healthcare provider,
          Dr. [Redacted], shows that the concern of KYLAP in requesting an
          abstinence requirement is not reasonably necessary.

          Ms. [Plaintiff] acknowledges that reasonable conditions would be
          appropriate for any applicant seeking admission to the practice of
          law in Kentucky. By a logical extension, unreasonable conditions
          and limitations would not be.

          Under the facts of the present case and the law applicable thereto,
          an abstinence requirement is an unreasonable condition. Thank you
          for your consideration in this matter. Given KYLAP’s involvement
          in the process of the conditions of Ms. [Plaintiff’s] admission to

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              the practice of law in Kentucky, I have also forwarded a copy of
              this letter to Yvette Hourigan, Executive Director of KYLAP. If
              you or the Committee, for that matter, Ms. Hourigan, have any
              questions or require any additional information, please contact
              me.”

       105.   On July 15, 2016, via her counsel, Plaintiff sent an additional letter to the KBA

and Hourigan from her doctor. Plaintiff’s physician wrote to Hourigan:

              “Dear Yvette, As you know, [Plaintiff] has been a patient treated
              through this office since August of 2014. She has been diagnosed
              with bipolar. Her medications include [redacted] at bedtime.

              She has been compliant with her medications. She has kept her
              follow-up appointments, faithfully. For the last several months, her
              clinical condition has been stable. Her moods and self-attitude
              have been neutral. Her thoughts have been well organized. She
              reports her sleep and appetite to be at baseline.

              There is no evidence of danger to self or others. She denies that she
              has had any problems with alcohol excess, past or present. No
              history of substance abuse has been elicited.

              Given her clinical stability over the last several months, this writer
              has indicated to the patient that she may have "a drink" of an
              alcoholic beverage in any given 24-hour. This writer has stressed
              the importance of moderation and advised the patient of risks of
              potential interaction between prescribed medications and alcohol.

              I hope that this information proves helpful to you in your
              determinations. If I may be of further assistance, or you have
              questions, please do not hesitate to contact me at your
              convenience.”

       106.   On July 19, 2016, Ostermiller provided the physician’s letter to Feamster by email

attachment.

       107.   On July 29, 2016, the KYLAP agreement was revised regarding alcohol

monitoring conditions, but the residency requirements, additional monitoring and additional

counseling appointment requirements remained in the combined agreements (conditional

admission and KYLAP). It provided that if Plaintiff changed residency for more than a week, she


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“SHALL be subject to review and full compliance with all rules and regulations governing

admission to the bar”. The new proposed KYLAP agreement stated that Plaintiff must notify

Hourigan if leaving town for business or pleasure for one week or more. After the prior dealings

with Hourigan, Plaintiff felt assured that the residency condition would certainly pose problems,

given that she had been prohibited from taking work in Kentucky for 3 months, and required out-

of-state work to support herself.

       108.    Unable to leave the state under the terms of the conditional agreement and

suspended from the practice of law, Plaintiff volunteered at a non-profit center which receives

Kentucky Bar Foundation (“KBF”) grants, among other federal, state and local funding, to assist

in refugee resettlement. Plaintiff’s volunteerism lead to an offer for employment to teach basic

introductory civics, safety and sewing courses to refugees for a low hourly pay through a KBF

grant. The 2016 KBF grant was entitled, “Preventing Violence & Supporting Survivors in the

Refugee & Immigrant Communities through Education, Legal Assistance & Job Readiness.” In

this job, Plaintiff would not perform legal tasks – the center’s immigration attorney and her

assistant were conducting those portions of work. The position required Plaintiff to organize

courses, schedule translators and contact speakers/trainers for refugees to learn about dialing 9-1-

1, CPR, avoiding arrests, minding domestic violence laws, getting children to school, obtaining

medical insurance, going to doctors, getting vaccines, applying for public assistance, finding

translators at the courthouse, job readiness, sewing, and other “basic” civics topics for new

residents.

       109.    In October of 2016, Plaintiff reported this position to the KBA. Thereafter,

Feamster demanded Plaintiff to prove that she was not practicing law, and required the contact

information for her new employers and managers.




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        110.   On November 7, 2016, Feamster notified Plaintiff via email that she must appear

before the KBA’s CFC for a formal hearing and that:

               “…the [CFC] is still requiring that you not practice law unless and
               until this matter is resolved in a fashion that allows you to do so.”

        111.   On November 15, 2016, Plaintiff emailed Feamster requesting a professional

conversation in lieu of a costly hearing to discuss ADA objections and how the parties could

resolve concerns on both sides.

        112.   Plaintiff had been unable to practice for seven months after expending a great deal

of money in application and exam costs, and could not afford the hearing fee.

        113.   Feamster responded by email that the CFC was unwilling to accommodate

Plaintiff’s request, and that a hearing was mandatory, as well as a $750 bond. Again, she

reiterated:

                      “… [R]emember that you are precluded from practicing
                      law in Kentucky while this matter is pending. You are out
                      of compliance with the terms of your conditional admission
                      and may not practice in Kentucky at this time.”

        114.   In response to Plaintiff’s request for time to afford the hearing, Feamster agreed

that the hearing could be paid and scheduled after the 2016 holiday season. On November 29,

2016, Feamster also wrote to Plaintiff:

               “This is the follow up letter I referenced in my e-mail to you
               yesterday afternoon, at approximately 3:47 p.m. If for some reason
               you did not receive the e-mail, please advise immediately. I would
               appreciate it very much if you would acknowledge receipt of both
               yesterday's email and this letter which is being sent both
               electronically and through the U.S. mail. It has been twenty-four
               hours at this point and I have heard nothing from you.

               As I stressed yesterday, the Character and Fitness Committee is
               very concerned about the job you described in your e-mail of
               November 23, 2016. They want the documents detailed in my
               responsive e-mail as soon as possible, and they need to be received


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              in my office no later than noon, eastern time on Friday, December
              2, 2016.

              To reiterate, those documents include the following: the job
              description for the job you have at the [redacted], any
              advertisements for the position, the name of your supervisor as
              well as his/her contact information and a written description of
              how you learned about the job. The written description should
              include a summary of the hiring process including summaries of
              interviews in which you participated. The summaries must include
              the interviewer's name, and job title and contact information.

              This is a very serious matter and the Committee takes this entire
              process, including your violations of your conditional admission,
              very seriously. The Committee serves as the Gatekeepers for the
              Profession and strictly complies with its obligations to the public.
              Do not ignore the communications and the need to respond with
              the documents requested.

              Failure to heed this request can have serious adverse consequences.
              If you have any questions concerning this matter, feel free to
              contact me. I look forward to hearing from you and receiving the
              requested documentation.”

       115.   Under great stress at work and regarding the ongoing matters at the KBA,

Plaintiff wrote a lengthy email hoping to provide Feamster enough information about her job to

prevent the KBA from making calls to her bosses that would reveal her private health matters

and ongoing issues with the KBA.

       116.    Feamster responded with the following on December 1, 2016:

              “This letter is in response to the multi-paged e-mail you forwarded
              me on Tuesday, November 29, 2016 at 11:02 p.m. While the
              communication from you was lengthy, it did not provide the
              documents I have previously told you the Character and Fitness
              Committee (hereafter "Committee") needs/requires.

              You need to strictly, and quickly, comply with what has been
              requested. A telephone call with me will not in any way resolve
              your situation. You must produce the documentation requested,
              and any further documentation you believe will assist your
              situation and you must do it quickly.




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          If you do not produce all of the information requested, the
          Committee will be filing a motion with the Supreme Court of
          Kentucky to immediately suspend or revoke your conditional
          admission for on-going non-compliance with the terms of the
          admission and with your obligation to not practice law in this state
          unless and until all matters concerning your conditional admission
          have been resolved.

          As I have repeatedly stressed, the Committee is very concerned
          about the job you described in your e-mail of November 23, 2016
          and that concern was increased after reading your e-mail of
          November 29, 2016. They still want the documents detailed in my
          earlier e-mail and letter as soon as possible. After receipt of those
          documents they will make a determination as to how quickly a
          hearing needs to be scheduled. Because I was unable to get back in
          touch with you yesterday, and out of an abundance of fairness, the
          deadline for your detailed document production is extended. The
          documents, in their entirety must be received in my office no later
          than noon, eastern time on Monday, December 5, 2016.

          To again reiterate, those documents include the following: a
          complete job description for the job you have at the [redacted], any
          advertisements for the position, the name of your supervisor as
          well as his/her contact information and a written description of
          how you learned about the job. The written description should
          include a summary of the hiring process including summaries of
          interviews in which you participated. The summaries must include
          the interviewer's name, and job title and contact information.

          Further, since you referenced "[redacted name]" and "[redacted
          name]" as well as [redacted name], please have those individuals
          write letters to the Committee detailing the job you are performing,
          the requisites for that job, whether a law license is required for the
          job, what you have explained to each of them about your "issues"
          with the Office of Bar Admissions and the extent of your contact
          with the public.

          In any Character and Fitness proceeding, the burden is on the
          Applicant (you) to prove that they are in compliance. It is your
          burden of proof, and it is a strict and stiff obligation. I will not be
          calling anyone or making an effort to undertake this burden for
          you.

          As I have previously stated to you, this is a very serious matter and
          the Committee takes this entire process, including the on-going
          violations of your conditional admission, very seriously. If you
          have any questions concerning this matter, feel free to contact me.

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               I look forward to hearing from you and to receiving the requested
               documentation.”

       117.    Plaintiff left her job and was admitted to a hospital on December 7, 2016 under

the financial, reputational and emotional stress of her circumstances.

       118.    Plaintiff sent an email to Feamster on February 16, 2017 to discuss a hearing

before the CFC and to provide the bond payment.

       119.    The hearing was scheduled for April 27, 2017.

       120.    On April 14, 2017, an updated Second Order to Show Cause was sent to Plaintiff.

       121.    On April 27, 2017, the formal hearing was held. Plaintiff appeared without

counsel, as she was unable to afford representation, to express her concerns with the KBA’s

ADA noncompliance. She hoped to negotiate changes to the conditional admission and KYLAP

(proposed) agreements that would not inhibit her work in and out of state, nor require strict,

unwarranted monitoring, additional medical treatment and intrusive chemical testing.

       122.    The CFC initially had an impression that Plaintiff had violated the law, but

Plaintiff explained that the conditional admission was predicated upon her bar application

disclosures regarding her mental health treatment history. Plaintiff explained the breakdown in

KYLAP negotiations and concerns regarding Hourigan’s unprofessional behavior. Plaintiff

sought to address the effects of the residency requirement, and discussed national standards for

ADA compliance in state bar associations.

       123.    Plaintiff requested unconditioned admission, as she was dutifully attending to

doctor recommendations and FLAP conditions, and would be bound to report ordinary

misconduct under regular bar membership guidelines.

       124.    Susan C. Lawson of the CFC cross-examined Plaintiff regarding her signed

conditional admission agreement line-by-line. Plaintiff expressed that terms in the agreement


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were questionable under the ADA. Grant Helman, chair of the CFC, interrupted Plaintiff’s

attempts to negotiate ADA-compliant terms, making points about how Plaintiff should sign a

conditional admission agreement to be monitored for ethical violations.

       125.    Feamster did not raise conduct or behavioral concerns to justify a conditional

license in this matter. Feamster discussed only Plaintiff’s Bipolar I Disorder diagnosis, treatment

and private medical records.

       126.    Feamster falsely stated that the conditional admission and KYLAP agreements

did not have residency requirements, and falsely denied that Plaintiff and her attorney had

questioned residency requirements prior to the hearing. Feamster stated that the provisions of

Plaintiff’s conditional agreement were “standard” in all such agreements. In response to

Plaintiff’s questions to Feamster regarding ADA-compliance concerns, Feamster stated, “it was

irrelevant because [Plaintiff] already signed it.” Feamster instructed David Sloan of the CFC,

that the terms of the agreements were boilerplate and Plaintiff would have to accept them as all

conditioned attorneys do. At the close of the hearing, Plaintiff expressed concerns to Sloan about

her confidentiality as these matters continued, and he instructed that Plaintiff’s file would be

confidential so long as she did not challenge the CFC in the SCOKY. Sloan asked Plaintiff to

agree to that confidentiality term, and Plaintiff stated that she was unaware of the appropriate

rules in that regard and would not agree.

       127.    On May 22, 2017, Feamster notified Plaintiff that the CFC was recommending

SCOKY to permanently revoke Plaintiff’s license, and that she was drafting the opinion of the

CFC to present to the high court. From May 22, 2017 to May 30, 2018, the Plaintiff requested an

order via emails and calls to Feamster, but Feamster was nonresponsive.

       128.    Throughout June, Plaintiff sought counsel to represent her in the SCOKY with

regard the expected revocation order.

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       129.   On July 11, 2017, hearing nothing, Plaintiff wrote to Feamster for a status with

regard to her bar license, as she was “active and in good standing” on the KBA’s public website.

       130.   On July 29, 2017, Plaintiff was billed for KBA membership dues, and paid

$227.70 forthwith.

       131.   From September of 2017 to January of 2018, Plaintiff corresponded with

Feamster, as well as Mary Beth Cutter and Leona Deleon in the KBA’s Continuing Legal

Education (CLE) for extensions of time and clarification of requirements in light of Feamster’s

suspension orders.

       132.   On January 3, 2018, Plaintiff requested an exemption to the New Lawyer Program

(“NLP”) as an attorney with practice experience “in another jurisdiction for a minimum of five

years.” Plaintiff was denied and attended the NLP on January 25 and 26, 2018.

       133.   Plaintiff still did not receive a status from Feamster. Plaintiff left several follow-

up messages for Feamster on her voicemail and via Stephanie Thomas, Application Analyst at

the KBA/KYOBA.

       134.   On March 6, 2018, Thomas emailed Plaintiff confirming she forwarded her

March 2, 2018 message to Feamster.

       135.   Since Plaintiff’s swearing-in ceremony and bar number receipt on April 28, 2016

in Frankfort, she continually appeared on the KBA’s public website as an attorney with full

practice capability, listed in “good standing”. However, she had to turn away private clients and

explain why she could not assist in Kentucky cases.

       136.   In April of 2018, Plaintiff registered for CLE courses for $250 as required by

Cutter and Deleon. She also ordered a replacement copy of her bar card for $10 on the KBA

website to see if she was internally noted as suspended. However, Plaintiff received the card




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stating she was still a member, “in good standing”, within a week. Feamster still had not

responded to requests for status.

        137.   On April 26, 2018, Thomas emailed Plaintiff to see if Plaintiff had heard from

Feamster. Plaintiff responded that she had not.

        138.   Plaintiff completed CLEs for KBA requirements in May of 2018.

        139.   On May 30, 2018, 389 days after her formal CFC hearing, Feamster emailed

Plaintiff:

               “The Character and Fitness Committee has requested that I contact
               you and ask you to appear at a follow-up Informal Hearing with
               them to discuss your current status and obtain an update from you.
               They are available on either July 5 or July 6, 2018 at the office on
               Newtown Pike in Lexington. An Informal Hearing does not have a
               court reporter or any of the trappings of a formal hearing. It is
               simply a meeting between you and the Committee. I look forward
               to hearing from you about this request.”

        140.   On June 1, 2018, Plaintiff received notice from the Florida Bar and FLAP that her

monetary and monitoring conditions were met, and diversion was concluded. In closing out her

file, Plaintiff’s physician/monitor remarked that he had no concerns regarding her mental health

and encouraged her to continue practicing law.

        141.   On July 6, 2018, Plaintiff attended the informal hearing where she was questioned

by the CFC regarding her disability. At the close of the hearing, Plaintiff hand-delivered the most

recent physician/monitor letter and the Florida Bar’s release to the CFC and Feamster.

        142.   On July 12, 2018, Plaintiff received an email from Feamster:

               “The Character and Fitness Committee (hereafter "the
               Committee") would like to thank you for appearing and meeting
               with them on Friday, July 6, 2018. The Committee also
               acknowledges receipt of the letter from The Florida Bar providing
               that you have successfully completed all the terms and conditions
               associated with your diversion there and that your file with Florida
               has now been closed.


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           However, the Committee was very concerned to learn about a
           hospitalization for bi-polar issues that you testified was
           approximately a month in duration commencing in early December
           of 2016. At that time, you had already entered the Consent
           Agreement which clearly and specifically required you to notify
           the Committee of any incident or occurrence that could be
           considered adverse to a finding of either good moral character or
           fitness to be a practicing attorney. Yet, you did not notify the
           Committee of this hospitalization prior to or in your first hearing,
           on April 27, 2017, nor at any time thereafter until specifically
           asked during the recent informal hearing of July 6, 2018. This
           lengthy hospitalization, and your failure to disclose any
           information about it until last week, causes great concern about
           both your stability and your fitness to practice.

           The Committee specifically requests that you obtain from your
           physicians and therapists the following documentation and forward
           it to the Office of Bar Admissions within thirty (30) days of the
           receipt of this letter:

           •   Certified copy of all of your medical and therapy records for
               the period from November 2016 until the present
           •   Certified copies of any and all hospitalization records from
               November 2016 until the present
           •   Updated Kentucky criminal history record
           •   Updated Kentucky driving record

           The Committee needs to review all of your recent records:
           medical, psychological, psychiatric, general counseling of any type
           as well as your updated driving and criminal histories prior to
           making any determination or proceeding any further in this matter.
           Following this review, in all likelihood the Committee will require
           that you obtain a psychological evaluation of your current fitness
           to practice from a medical professional of the Committee's
           choosing before any decisions can be made on the status of your
           license.

           Upon receipt of this letter, please email me so that I can accurately
           compute the thirty (30) day period for production. The burden is on
           you to contact your providers and hospitals to obtain and have
           forwarded complete certified copies of the requested
           documentation.”

    143.   On August 13, 2018, Plaintiff responded:

           “I hope this letter finds you doing well.


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           I am writing in response to your July 12, 2018 letter indicating that
           more information regarding my medical diagnosis, treatment and
           very personal medical records are required for character and fitness
           investigation.

           You also indicated that an independent medical professional
           evaluation was likely at the choosing of the character and fitness
           committee as well.

           I believe that your requests are illegal under the [ADA]. I ask that
           you please review the Department of Justice’s 2014 settlement
           agreement with the Louisiana Supreme Court which indicates that
           the questions in which you were asking on the application for
           admission are not advisable and the information that you have
           elicited (and continue to request) is beyond the allowable inquiry
           and not necessary as I have already provided 3+ letters from my
           independent medical professionals regarding their professional
           opinion that I am mentally able to practice law without concern for
           public safety.

           You have suspended my ability to practice law in Kentucky since
           my admission to the bar on April 28, 2016. You have further
           impacted my ability to work out of state or on federal issues within
           the state while operating under your very punitive and restrictive
           conditions. I believe you have intentionally discriminated against
           me and similarly situated applicants. You are exhibiting deliberate
           indifference to my rights as a disabled person to live a normal life
           and practice my trade to support myself equal to other applicants.

           I ask that you please respond in a timely manner. I feel that I am
           entitled to unconditional admission to the bar immediately as well
           as compensation for damages.

           Please advise.”

    144.   On August 17, 2018, Feamster refuted receipt of Plaintiff’s physician letter(s):

           “In reviewing your email of Monday, August 13, 2018, I notice
           that you reference that “I have already provided 3+ letters from my
           independent medical professionals regarding their professional
           opinion…’. Our files only indicate a letter from Dr. [Redacted]
           which indicates that as long as you continue treatment and take
           your medication you should be fine, and a follow up letter from Dr.
           [Redacted] to Yvette Hourigan concerning his opinion that it was
           permissible for you to consume one alcoholic beverage per day.




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              I do not know if other letters were perhaps sent to Florida and you
              believe we are in possession of them, but we are not and we have
              no other letters. Please let me know what other communications
              you are referencing. I look forward to hearing from you.”

       145.   On August 21, 2018, Plaintiff replied,

              “I am writing to confirm I've received your email regarding
              questions/specifics on medical records. I am working on a response
              and will compile a timeline of disclosures and releases for you
              soon.

              Most recently, I hand-delivered to Stephanie Thomas two letters
              (one from the Florida Bar re: my release from diversion and one
              from [Redacted], my… physician) at our July 6, 2018 informal
              hearing in Lexington at your office.

              Additionally, Dr. [Redacted] has provided you and Ms. Hourigan
              at least two letters in addition to the numerous medical records
              releases I've provided since those accompanying my application in
              December of 2015.

              Could you please tell me a status with regard to my ability to
              practice law in Kentucky?”

       146.   On August 22, 2018, Feamster located the letter Plaintiff hand-delivered on July

6, 2018, emailing:

              “Thank you very much for bringing the letter of Dr. [Redacted] to
              my attention. I had not previously seen it and did not realize that
              you had delivered it to the office with the Florida bar release.

              I had asked the staff to watch for the release and to please bring it
              to me and I received and reviewed that document.

              The letter from Dr. [Redacted] must have gone directly into the
              file.

              I have forwarded a copy of this letter to the members of the
              Character and Fitness Committee this morning and requested that
              they review it. The Committee will be in the office for a hearing
              this coming Tuesday. While they are in the office they will discuss
              your status at that time and with the benefit of Dr. [Redacted]'s
              letter.

              I will be in touch with you on Tuesday.

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               I also want to clarify a point. You referenced the medical records
               releases you have previously executed. This office has not sought
               any records of yours prior to the request last month and have no
               medical records whatsoever for you.

               We have the letter Dr. [Redacted] sent in early 2016 and a copy of
               the letter he sent to Yvette Hourigan advising that you could have a
               drink a day. That was all we had other than your statements. I will
               be in touch on Tuesday.”

       147.    On August 28, 2018, Feamster emailed, “[a]ttached please find a letter the

Committee requested I forward to you releasing you from any conditions on your licensure. The

original of this communication has been placed in the U. S. mail.” The attached PDF on KYOBA

letterhead listing the CFC and KBBE members stated:

               “The Character and Fitness Committee (hereafter "the
               Committee") met today to discuss a variety of matters, including
               your recent request for unconditional admission in Kentucky. As I
               previously mentioned to you in the email of August 22, 2018, I
               forwarded the Committee Dr. [Redacted]'s letter as soon as I was
               aware of its existence.

               With the clear opinion of a recent treating physician, as well as the
               release from your conditional admission in Florida, the Committee
               is satisfied and your request is granted. There are no restrictions or
               conditions on your Kentucky licensure.

               If you have any additional questions, please do not hesitate to
               contact me.”

       148.    Plaintiff’s Florida license has never been “conditioned” as stated in the above-

quoted correspondence.

       149.    On August 31, 2018, Plaintiff requested damages again via email to Feamster

regarding her deliberately indifferent and intentionally discriminatory acts.

       150.    On September 4, 2018, Feamster and Plaintiff arranged to meet regarding

Plaintiff’s damages claim.




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           151.   On September 7, 2018, Plaintiff met with Feamster and Sloan at the law offices of

Bingham, Greenebaum and Doll in downtown Louisville, wherein they denied responsibility for

damages Plaintiff suffered in this matter.

           152.   Plaintiff retained counsel for the filing and prosecution of this action, and is

entitled to recover attorney fees, expert fees, costs and expenses incurred in this case.

           153.   Upon Plaintiff’s request and payment of a $20 processing fee, the state defendants

and its agents produced a copy of Plaintiff’s original bar application and supplemental materials

to Plaintiff on December 3, 2018. To date, Plaintiff’s official bar files contain confidential and

protected health information and multiple orders to show cause which reference her disability

and treatment as character and professional flaws. The Plaintiff’s official KBA files contain no

notation that the orders to show cause have been dismissed.

                      COUNT I: VIOLATIONS OF TITLE II OF THE ADA

           154.   Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

           155.   Congress enacted the ADA in 1990 to address, among other things, discrimination

against persons with disabilities in public services (Title II), in order "to provide a clear and

comprehensive national mandate for the elimination of discrimination against individuals with

disabilities…" because "historically, society has tended to isolate and segregate individuals with

disabilities, and, despite some improvements, such forms of discrimination against individuals

with disabilities continue to be a serious and pervasive social problem".

           156.   Under Title II of the ADA, “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in, or be denied the benefits of, the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.”

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        157.    The ADA definition of a "public entity" includes state and local governments, as

well as their agencies, agents and instrumentalities.

        158.    Congress has expressly abrogated the states' Eleventh Amendment immunity to

ADA liability providing that “[a] state shall not be immune… from an action in Federal or State

court of competent jurisdiction for a violation of this chapter”.

        159.    Congress has delegated the Department of Justice (“DOJ”) to promulgate

regulations to implement the broad anti-discriminatory language of Title II. DOJ regulations

implementing Title II are to be read in conjunction with the ADA pursuant to statutory directive.

        160.    The DOJ’s regulations directly apply Title II to the licensing and regulation of

attorneys in state bar associations.

        161.    A core purpose of the ADA is the elimination of barriers caused by the use of

stereotypic assumptions "that are not truly indicative of the individual ability of [persons with

disabilities] to participate in, and contribute to, society."

        162.    A public entity cannot impose or apply "eligibility criteria that screen out an

individual with a disability ... from fully and equally enjoying any service, program, or activity,

unless such criteria can be shown to be necessary for the provision of the service, program, or

activity being offered."

        163.    Qualification standards based on a disability are illegal unless such qualifications

are equally applied to all applicants, related to the job at issue and consistent with business

necessity.

        164.    Policies that “unnecessarily impose requirements or burdens on individuals with

disabilities that are not placed on others” are prohibited by the ADA.

        165.    A state bar association’s professional licensing procedures should not be

"arbitrary, capricious or plainly contrary to statute."

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       166.    Unnecessary hurdles in the path of a person with a disability violate the ADA.

       167.    Individuals who are otherwise qualified for state bar admission may not be

relegated to a separate admissions status solely on the basis of their mental health diagnosis.

       168.    Conditionally admitting an applicant because of his or her mental health diagnosis

violates the ADA.

       169.    The SCOKY, KBA, KBBE, KYOBA, CFC, KBG, and KYLAP are “state

entities” (collectively “state defendants”) subject to the non-discrimination provisions of Title II

of the ADA and its sweeping prohibition of practices by public entities that discriminate against

persons with disabilities.

       170.    The state entities and their agents govern the licensing and regulation of attorneys.

       171.    Elizabeth Feamster and Pamela Yvette Hourigan are officials whose acts reflect

governmental policy. Thus, the state defendants act through these agents.

       172.    Grant Helman, Susan Lawson, Gary Payne and David Sloan are officials whose

acts reflect governmental policy. Thus, the state defendants act through these agents.

       173.    Kristen Northcutt, Lisa Larkey and Stephanie Thomas are officials whose acts

reflect governmental policy. Thus, the state defendants act through these agents.

       174.    Title II's enforcement provision incorporates by reference § 505 of the RA, 92

Stat. 2982, as added, 29 U.S.C. § 794a, which authorizes private citizens to bring suits for money

damages.

       175.    Persons with disabilities are "qualified" if they, "with or without reasonable

modifications to rules, policies, or practices, the removal of architectural, communication, or

transportation barriers, or the provision of auxiliary aids and services, meet the essential

eligibility requirements for the receipt of services or the participation in programs or activities

provided by a public entity."

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        176.    The Plaintiff is a qualified individual with a disability under Title II of the ADA,

and/or she is “regarded as having a disability” by the state defendants and its agents.

        177.    The state defendants, via its agents, inquire and investigate disabled attorneys in a

manner which is not rationally related to the state entity’s purposes.

        178.    The state defendants and its agents, in violation of Title II of the ADA, utilize

"criteria or methods of administration" that have the effect of subjecting qualified individuals

with disabilities to discrimination”.

        179.    The state defendants’ licensing scheme, and its agents’ investigations, substitute

an impermissible inquiry into the status of disabled applicants for a proper inquiry into the

applicant’s conduct, forcing qualified applicants to reveal personal and embarrassing information

that is not relevant to their fitness to practice law.

        180.    The state defendants’ application questions regarding mental health treatment

unlawfully screen individuals with disabilities, based on stereotypes and assumptions about their

disabilities.

        181.    The state defendants’ and its agents’ application inquiries are unnecessary,

overbroad and burdensome.

        182.    The application questions are unnecessary to assess applicants’ fitness to practice

law and the questions unlawfully subject applicants with disabilities, or perceived disabilities, to

additional burdens.

        183.    The state defendants and its agents imposed and applied eligibility criteria that

screened out Plaintiff, and other similarly situated applicants, from fully and equally enjoying

KBA services, programs and activities on the basis of actual or perceived disability.

        184.    Agents of the state defendants, including but not limited to, Feamster, Hourigan,

Northcutt, Thomas, Larkey and agents of the CFC, disregarded federal law, and diverted

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Plaintiff’s application for investigations and conditional licensure after Plaintiff revealed her

disability.

        185.    The state defendants and its agents violated the ADA when it conditioned the

admission of Plaintiff without a conduct or behavioral justification.

        186.    The state defendants and its agents violated the ADA when it conditioned

Plaintiff’s bar admission with no rational or reasonable justification therefore.

        187.    The state defendants and its agents, including members of the CFC, violated the

ADA by requiring the Plaintiff to enter into a conditional licensing and KYLAP contracts

because of her disability, or perceived disability.

        188.    The state defendants and its agents violate the ADA by targeting individuals for

intrusive investigations, interfering with the confidentiality of their medical records, and

imposing additional financial costs on applicants due to mental health diagnoses or treatment.

        189.    The state defendants and its agents violated the ADA when it required Plaintiff to

disclose and release broad medical records to the KBA, including intimate treatment notes.

        190.    The state defendants and its agents violated the ADA by conducting an expensive,

burdensome and unnecessary investigation of Plaintiff at her expense.

        191.    The state defendants, and its agents, including Feamster and Hourigan, violated

the ADA by imposing additional burdens on Plaintiff, an applicant with a qualifying disability,

that are not imposed upon applicants without disabilities.

        192.    The state defendants, and its agents, including Feamster and Hourigan, refused to

amend agreements after Plaintiff, and her counsel, notified them of ADA-non-compliance.

        193.    The state defendants, and its agents, including Feamster and Hourigan retaliated

against Plaintiff.




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        194.    The state defendants, and its agents, including Feamster and Hourigan, violated

the ADA in failing to afford considerable weight to Plaintiff’s treating physician’s statements.

        195.    The state defendants, and its agents, including Feamster and Hourigan, violated

the ADA by continuing its investigation after Plaintiff provided sufficient medical expert

statements establishing she was cleared for practice with no reason for public or personal safety

concerns.

        196.    The state defendants, and its agents, including Feamster, the CFC, and Hourigan,

violated the ADA when it required Plaintiff to appear for formal and informal hearings to be

questioned on her disability and treatment.

        197.    The state defendants, and its agents, including Feamster and Hourigan, absent

evidence suggesting Plaintiff was a threat to the public or herself, violated the ADA by requiring

Plaintiff to submit to weekly monitoring, reporting to the CFC and KYLAP, substance testing,

psychiatric evaluations and treatment (beyond medical advice), financial requirements (bonds,

monitoring and testing fees, copays, document requests), embarrassing employment disclosures,

residency requirements, healthcare and hospitalization reporting, and other conditions based

upon the defendants’ speculative assumption that Plaintiff may pose a risk to the public because

of her disability.

        198.    The state defendants’ and its agents’ policies and practices, as applied to disabled

applicants, fail to protect the confidentiality and freedom of practice enjoyed by non-disabled bar

members, and carries a high likelihood of negatively impacting the reputation of the member.

        199.    The state defendants and its agents violated the ADA when it demanded to

correspond with Plaintiff’s employers and medical providers about ongoing matters with her

admission process and disability.




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       200.    The KBA’s licensing scheme, investigations and conditional admissions

procedures do not rationally relate to an applicant’s ability to practice law. Evidence does not

exist that mental health treatment has a negative effect on one’s fitness to practice law.

       201.    Psychological examinations at an applicant’s expense have been ruled illegal

under the ADA, because they “amount to a burden to which the vast majority of [the applicant’s]

classmates and other applicants were not subjected.”

       202.    The state defendants and its agents, including Feamster and Hourigan, violated

the ADA when it suspended Plaintiff from practice for requesting ADA-compliant conditional

admission and KYLAP agreements.

       203.    The state defendants and its agents violated the ADA, and continue to violate the

ADA, in failing to keep Plaintiff’s membership files, and the health-related information therein,

strictly confidential from public or inter-office access.

       204.    The state defendants and its agents violated, and continue to violate, Plaintiff’s

constitutionally protected liberty interests in the privacy of her highly personal medical records.

       205.    The state defendants and its agents continue to violate the ADA by permitting

Plaintiff’s confidential health information and bar files to be discoverable as part of her public

bar records.

       206.    The state defendants’ and its agents’ cause disabled lawyers’ to be limited in

employment opportunities by allowing their prospective employers, colleagues and clients to

access information about their disability to which they would not ordinarily be entitled.

       207.    The state defendants, its agents, including Hourigan and Feamster, have harmed,

and continue to harm, Plaintiff’s reputation.




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        208.    The state defendants and its agents violate the ADA by punishing disabled

applicants, not based on actual risks, but based upon stigma, ignorance, speculation, stereotypes

and/or generalizations about individuals with disabilities.

        209.    The state defendants and its agents created, and continue to create, a chilling

effect that deters individuals with disabilities from pursuing the legal profession or lawyers from

seeking treatment.

        210.    The state defendants’ and its agents’ admission and membership policies and

procedures violate the ADA by deterring attorneys from obtaining necessary medical care for

fear of stigma and punishment. The state defendants and its agents deter members and applicants

from seeking diagnosis, counseling and/or treatment for mental health concerns, which,

ultimately, fails to serve the state entity’s interests of ensuring the fitness of licensed attorneys.

        211.    The state defendants and agents, including Feamster and Hourigan, violated the

ADA by subjecting Plaintiff to a license suspension for 853 days and forbidding her legal

practice of federal law within the state with her Florida bar license.

        212.    The state defendants and agents, including Feamster and Hourigan, offended

Plaintiff’s equal protection and due process rights when suspending her license, a

constitutionally protected liberty and possessory interest, in retaliation for raising ADA concerns

with their admissions procedure.

        213.    The state defendants and agents, including Feamster and Hourigan, violated

Plaintiff’s due process and equal protection constitutional rights by jeopardizing and suspending

Plaintiff’s Kentucky bar license without timely and adequate substantive and procedural due

process.

        214.    The state defendants and agents, including Feamster and Hourigan, intentionally

discriminated against Plaintiff, a qualified individual with a disability, from participation in equal

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bar membership because of her disability by requiring burdensome, expensive requirements for

membership of Plaintiff that are not applied to non-disabled applicants.

       215.    The state defendants and agents, including Feamster, Hourigan, members of the

CFC, Larkey, Thomas, and Northcutt took actions against Plaintiff because of her disclosed

disability, and unlawfully directed investigations and disciplinary proceedings which led to

Plaintiff’s license suspension, loss of livelihood, loss of reputation and other damages.

       216.    Animus against Bipolar bar applicants and members was the central factor for the

position taken by the state defendants and agents, including Feamster and Hourigan.

       217.    The state defendants and agents, including Feamster and Hourigan, have no

legitimate, nondiscriminatory reason for its conditional licensing schemes applied to disabled

applicants, and Plaintiff individually.

       218.    The state defendants and agents have been on notice for at least 25 years that their

admissions system is admonished by federal law, and a more integrated setting can be easily

accomplished with reasonable modifications to the state defendants’ programs and services.

       219.    At all times herein, Plaintiff made the state defendants and agents, including

Feamster and Hourigan, aware of their ADA violations, yet the defendants continued to

discriminate against Plaintiff on the basis of her disclosed disability.

       220.    State defendants and agents, including Feamster and Hourigan, were on notice,

prior to 2015 and since investigating Plaintiff’s application, that their discriminatory

investigations and punitive treatment of disabled applicants are unlawful under the ADA.

Plaintiff raised ADA-based objections throughout her application process, investigation and

subsequent suspension, independently and via counsel.




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        221.     The actions of the state defendants and its agents, including Feamster and

Hourigan, constitute discrimination in violation of, among other statutes, Title II of the ADA, 42

U.S.C. § 12132, and its implementing regulations, 28 C.F.R. Part 35.

        222.     At all times pertinent to this complaint, the state defendants and its agents,

including Feamster and Hourigan, have taken discriminatory actions against Plaintiff in a willful

and intentional manner with conscious disregard of federal and state regulations.

        223.     State defendants and its agents, including Feamster and Hourigan, caused Plaintiff

to suffer irreparable damages that cannot be adequately compensated through remedies of law.

        224.     The Eleventh Amendment does not bar a finding of intentional discrimination,

discriminatory animus and deliberate indifference to justify a punitive damages award to

Plaintiff.

        225.     Pursuant to 42 U.S.C. § 12188, this Court is vested with authority to grant the

relief for which Plaintiff herein requests.

        226.     Under the terms of the Civil Rights Act of 1991 (1991 Act), 105 Stat. 1071,

punitive damages are available in claims under the ADA, 104 Stat. 328, 42 U.S.C. § 12101,

12132 et. seq. Punitive damages are appropriate here because the state entity, and its agents, have

engaged in intentional discrimination “with malice or with reckless indifference to the federally

protected rights of an aggrieved individual.”

              COUNT II: VIOLATION OF § 504 OF THE REHABILITATION ACT

        227.     Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

        228.     The Rehabilitation Act of 1973 (RA) § 504, 29 U.S.C. § 794, prohibits state

entities and its agents from discriminating against persons with disabilities, because of their

disability.

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       229.    The SCOKY, KBA, KBBE, KYOBA, CFC, KBG, and KYLAP are “state

entities” (collectively “state defendants”) subject to the non-discrimination provisions of Title II

of the ADA and its sweeping prohibition of practices by public entities that discriminate against

persons with disabilities.

       230.    Elizabeth Feamster and Pamela Yvette Hourigan are officials whose acts reflect

governmental policy. Thus, the state defendants act through these agents.

       231.    Grant Helman, Susan Lawson, Gary Payne and David Sloan are officials whose

acts reflect governmental policy. Thus, the state defendants act through these agents.

       232.    Kristen Northcutt, Lisa Larkey and Stephanie Thomas are officials whose acts

reflect governmental policy. Thus, the state defendants act through these agents.

       233.    Like the ADA, §504 of the RA similarly prohibits state entities and its agents

from discriminating against individuals with disabilities, and requires that they provide services

and support in the most integrated setting appropriate to the needs of individuals with

disabilities. 29 U.S.C. § 794, 45 C.F.R. § 84.4. The nondiscrimination rule of §504 of the RA

applies to services provided by any "public entity" (without regard to whether the entity is a

recipient of federal funds). The RA's implementing regulations provide that state entities and its

agents "shall administer programs and activities in the most integrated setting appropriate to the

needs of qualified handicapped persons." 28 C.F.R. § 41.51(d); see also 45 C.F.R. § 84.4.

       234.    Discrimination on the basis of disability is prohibited by §504 of the RA, 29

U.S.C. § 794(a): "No otherwise qualified individual with a disability in the United States…shall,

solely by reason of her or his disability, be excluded from the participation in, be denied the

benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance or under any program or activity…."




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       235.    The state defendants and its agents are a “state entity” that discriminates against

“qualified individual[s] with a disability” in violation of §504 of the RA and its implementing

regulations.

       236.    The State defendants and its agents administer programs and services for

individuals with disabilities in a manner that denies individuals the opportunity to receive

services in the most integrated setting appropriate to their needs.

       237.    Plaintiff is a qualified individual with a disability, as defined by §504 of the RA,

and Plaintiff is qualified to receive services in a more integrated setting.

       238.    Providing membership to Plaintiff, and similarly situated applicants, in a more

integrated setting could be accomplished with reasonable modifications to the Defendants’

programs and services. In fact, 36 other state bars’ procedures and practices, DOJ orders and

ABA recommendations could be referenced for modifications to the KBA’s procedures to

conform to the ADA. Most states do not conduct admissions inquiries, investigations and

conditional licensing schemes that violate the ADA.

       239.    The RA §504 prohibits an otherwise qualified attorney with a disability from

being excluded from the practice of law and the benefits of bar membership, or subjected to

discriminatory treatment, as a result of their disclosing of a disability or mental illness treatment

in their application for admission.

       240.    The acts and omissions of the state defendants and its agents, including Feamster

and Hourigan, constitute discrimination in violation of §504 of the RA, 29 U.S.C. § 794, and its

implementing regulations, 45 C.F.R. § 84.4.

       241.    The state defendants and its agents, including Feamster and Hourigan, violated

the Plaintiff’s rights under the RA on the basis of her disability.




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        242.    The state defendants and its agents, including Feamster and Hourigan, acted

deliberately and intentionally to discriminate and punish Plaintiff because of her disability

disclosures.

        243.    The State defendants and its agents, including Feamster and Hourigan, intend to

exclude disabled members and applicants, and jeopardize the licensure of professionals who seek

medical help.

        244.    The state defendants and its agents, including Feamster and Hourigan, acted in

reckless disregard for Plaintiff’s rights.

        245.    The state defendants were on notice of Plaintiff’s ADA-related objections her

853-day license suspension, but its agents and officials disregarded relevant concerns and

retaliated with deliberate indifference.

        246.    The state defendants and its agents, including Feamster and Hourigan, acted with

deliberate indifference to Plaintiff’s right to equal treatment in the admissions process.

        247.    Plaintiff has suffered damages due to the actions and inactions of the state

defendants and its agents, including Feamster and Hourigan.

        248.    Plaintiff is entitled to compensatory and punitive damages in this matter.

        249.    Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action and is entitled to recover those attorney fees, expert fees, costs and

expenses incurred in this case from the Defendants pursuant to 29 U.S.C. § 794(b).

      COUNTS III - V: DUE PROCESS, ACCESS TO THE COURTS AND EQUAL
                          PROTECTION VIOLATIONS

        250.    Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.




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       251.    Plaintiff’s bar licenses are “livelihood, liberty and property interests” protected by

the U.S. Constitution.

       252.    Under color of state law, the state defendants and its agents, including Feamster,

Hourigan and members of the CFC, violated Plaintiff’s federally protected rights.

       253.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, jeopardized, suspended and sought revocation of Plaintiff’s bar license with intent,

deliberation, knowledge and discriminatory animus against persons with disabilities.

       254.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, have actual bias against disabled applicants.

       255.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, have been aware of the result of its policies and procedures affecting disabled

applicants. For decades, the defendants have maintained deliberate and intentionally

discriminatory policies and procedures to forbid disabled attorneys from practice.

       256.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, intentionally violated Plaintiff’s constitutional rights to equal protection under the

law, substantive and procedural due process, and access to the courts, in order to deprive Plaintiff

of her livelihood because she is diagnosed with a mental illness.

       257.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, thwarted Plaintiff’s right of access to the courts, a fundamental right, when it

unlawfully suspended her bar licenses without prompt due process.

       258.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, prevented Plaintiff from adequate and constitutional access to the courts by

suspending her license and delaying due process for 853 days.




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        259.   SCOKY and the KBA, as well as KYLAP, fail to adequately train, supervise and

hire its employees and contractors to screen, investigate and punish attorneys in line with federal

law.

        260.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC violates federal law when it treats abled and disabled applicants for membership

differently.

        261.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC utilizes an applicant’s disability as a justification for more stringent character and

fitness investigations, conditional admission and punitive requirements.

        262.   The state defendants’ and agents’ licensing scheme unlawfully creates classes of

persons seeking admission for membership; disabled and not. It treats disabled applicants as

lacking character and imposes conditions upon their admission.

        263.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC unlawfully discriminate disabled attorneys in a manner that is not rationally related to

its interest in licensing attorneys with positive character and fitness.

        264.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC imputed bad character upon Plaintiff based on her disability.

        265.   Plaintiff was deprived of federal rights as a result of the defendants’ intentional

discrimination and conspiracy to exclude disabled and/or mentally ill members.

        266.   The state defendants’ and its agents’ acts, failures to act, customs, policies and

practices caused injuries to Plaintiff. The state defendants and its agents, including Feamster,

Hourigan and members of the CFC are responsible for Plaintiff’s compensatory and punitive

damages, and attorney fees, for its damaging and discriminatory conduct against Plaintiff.




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              COUNT VI: VIOLATIONS OF KENTUCKY CIVIL RIGHTS ACT

       267.    Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

       268.    The KBA, a SCOKY administrative entity, and its agents, including Feamster,

Hourigan and the CFC, are a “labor organization” affecting the employment opportunities of its

members.

       269.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, violated The Kentucky Civil Rights Act by discriminating against Plaintiff, an

otherwise qualified attorney with a disability.

       270.    The defendants, including Feamster, Hourigan, and members of the CFC, illegally

limited, segregated and/or classified Plaintiff in a manner that deprived her of employment

opportunities and adequate access to livelihood.

       271.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, illegally and adversely affected Plaintiff’s reputation because of her disability and

retaliated when she requested ADA-compliant member agreements.

       272.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, caused injuries to Plaintiff.

       273.    Plaintiff is entitled to compensatory damages, punitive damages and attorney fees.

                         COUNT VII: MALICIOUS PROSECUTION

       274.    Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

       275.    The state defendants and its agents, including Northcutt, Thomas, Larkey,

Feamster, Hourigan and members of the CFC, discriminated against Plaintiff by diverting her




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membership application files for additional review and investigations, then conditioned her

license, because of her disability.

        276.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, instituted and continued civil and administrative proceedings to suspend and

permanently revoke Plaintiff’s bar license.

        277.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, instituted proceedings against Plaintiff with malice, willfulness and/or wanton

disregard of Plaintiff’s rights.

        278.    The Plaintiff and her counsel notified the defendants, including Feamster,

Hourigan, and members of the CFC, of ADA-related concerns, but the defendants persisted in its

actions against her bar license.

        279.    State defendants, Hourigan, Feamster, Northcutt, Larkey, Thomas and members

of the CFC lacked probable cause for its actions.

        280.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, are the proximate and efficient cause of Plaintiff’s injuries.

        281.    State defendants, including Feamster, Hourigan and the members of the CFC,

acted to “put the law in motion” against Plaintiff and her livelihood.

        282.    The prosecutions were ultimately terminated in Plaintiff’s favor on August 28,

2018 when she was granted her full bar licensure after threat of federal suit.

        283.    Plaintiff suffered financial damages, embarrassment, humiliation and loss of

professional reputation as a direct result of the conduct of the state defendants and its agents,

including Feamster, Hourigan and members of the CFC.

        284.    Compensatory and punitive damages, and attorney fees, should be awarded to

Plaintiff.

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                                 COUNT VIII: DEFAMATION

        285.   Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

        286.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, made false statements injurious to Plaintiff’s reputation and good name.

        287.   The state defendants and its agents, including Feamster, Hourigan, Thomas,

Northcutt, Larkey, and members of the CFC, alleged she was unfit to practice law because of her

disability.

        288.   Damages in a per se action of slander are presumed and require no proof of

special damages.

        289.   Plaintiff demands compensatory and punitive damages, as well as attorney fees

and orders necessary to expunge KBA files of defamatory content.

        290.   Plaintiff has suffered and will continue to suffer damages in the future as a result

of the state defendants’ and its agents’ conduct.

   COUNT IX: IMPROPER INTERFERENCE WITH CONTRACTUAL RELATIONS

        291.   Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

        292.   Plaintiff and the KBA had a contractual business relationship; a conditional

agreement to practice law in the state of Kentucky.

        293.   Hourigan, was aware of Plaintiff’s conditional admission agreement, and

intentionally interfered with improper motives.

        294.   Feamster was aware of Plaintiff’s conditional admission agreement, and

intentionally interfered with improper motives.




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        295.      Hourigan intentionally caused the breach of Plaintiff’s conditional admission

agreement with the KBA when she notified Lisa Larkey (KYOBA) and Feamster that Plaintiff

was intentionally non-compliant with orders of the bar.

        296.      Hourigan intentionally obscured relevant facts in her reports to the KBA and its

affiliated entities, including, but not limited to, the CFC. Plaintiff was not deliberately evading

her obligations to the bar. Rather, Plaintiff was, in good faith, requesting ADA-compliant

agreements.

        297.      The state defendants and its agents, including Feamster, Hourigan and CFC

members intended to discriminate and punish Plaintiff with malice.

        298.      Hourigan failed to comply with ADA requirements when crafting a KYLAP

agreement for Plaintiff. Hourigan utilizes boilerplate language and “standard conditions” for

disabled and disciplined members alike, regardless of their individual behavioral history.

        299.      Feamster’s acts,    omissions, practices    and   procedures resulted in       the

discrimination of Plaintiff, and subsequent damages, on the basis of her disability.

        300.      The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, consider disabled members as having a conduct or character problem in violation of

the ADA and similar anti-discrimination statutes.

        301.      Hourigan applied boilerplate KYLAP conditions to Plaintiff without regard for

her disability.

        302.      Feamster applied boilerplate conditional licensing terms to Plaintiff without

regard for her disability.

        303.      Hourigan disregarded and misrepresented the professional opinions of a qualified,

licensed medical practitioner while negotiating a KYLAP agreement with Plaintiff.




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        304.    Feamster disregarded and misrepresented professional opinions of medical and

legal professionals assisting Plaintiff.

        305.    Hourigan’s reports to the KBA contradicted and misrepresented the expert

opinions of, and the contents of her communications with, Plaintiff’s doctor.

        306.    Feamster failed to conduct duly diligent investigations into the statements of

Hourigan.

        307.    Hourigan failed to properly investigate Plaintiff’s medical history, and made

assumptions regarding her condition and medications absent competent medical evidence.

        308.    Hourigan acted in reckless disregard of the truth resulting in reputational,

professional, and financial damages to Plaintiff.

        309.    Feamster acted in reckless disregard of the truth, and caused Plaintiff reputational,

professional and monetary injury.

        310.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC disregarded the truth of the matters affecting Plaintiff’s licensure.

        311.    Hourigan failed to heed ADA concerns and HIPAA confidentiality while

contracting with Plaintiff and sought in-depth medical records disclosures after she was informed

that the ADA did not permit such inquiry.

        312.    Hourigan made false statements regarding the content of the KYLAP agreement

and did not provide a draft contract in good faith prior to meeting with Plaintiff.

        313.    Hourigan made a false statement to KBA officials regarding Plaintiff’s KYLAP

agreement and her physician’s statements regarding alcohol use. Feamster relied upon

Hourigan’s false statements.

        314.    Feamster and Hourigan knew their statements were false.




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       315.      Feamster and Hourigan improperly interfered with Plaintiff’s conditional

admission agreement with the KBA.

       316.      Hourigan made false statements to SCOKY, KBA, KBBE, KBG, KYOBA, CFC

and Feamster when she reported that Plaintiff violated her conditional admission agreement.

       317.      Hourigan misrepresented to the KBA the reasons for disputes arising in

negotiations with Plaintiff.

       318.      Hourigan imputed alcohol dependency to Plaintiff without justification.

       319.      Hourigan’s opinions were not based on reason or good faith investigation.

       320.      Hourigan lied to the CFC, Feamster and Plaintiff about her communications with

Plaintiff’s medical doctor and independently accused Plaintiff of having an alcohol problem that

needed regulation.

       321.      Hourigan was not justified in taking action against Plaintiff’s license under the

circumstances.

       322.      Feamster was not justified in taking action against Plaintiff’s license under the

circumstances.

       323.      Hourigan’s statements were made in bad faith and with improper purposes.

       324.      Feamster’s statements and pleadings (i.e. show cause orders) were made in bad

faith and with improper purpose.

       325.      Hourigan’s and Feamster’s malicious actions and inactions caused Plaintiff’s

license suspension for 853 days.

       326.      Hourigan implied to the KBA and its regulating officials that Plaintiff lacked

character and fitness to practice law.

       327.      Hourigan and Feamster intentionally caused the KBA to suspend Plaintiff’s

license to practice law and seek her permanent license revocation.

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       328.    Feamster recklessly disregarded the falsity of Hourigan’s claims, and presented

Plaintiff in violation to the CFC.

       329.    Feamster was aware that Plaintiff was making good faith efforts to negotiate

conditional licensing terms that were in compliance with applicable laws, but she sought to

permanently revoke Plaintiff’s license to practice law nonetheless.

       330.    Feamster excessively published defamatory matters to the CFC, and perhaps the

members of the Supreme Court, Board of Governors and others, causing a domino effect of

financial and reputational harm to Plaintiff.

       331.    Feamster’s misrepresentations to the CFC caused Plaintiff’s license suspension

for 853 days without justification.

       332.    With malicious motives, Feamster and Hourigan, jointly and severally made an

attack upon the character of Plaintiff beyond any protection that qualified privilege may afford.

       333.    Hourigan acted with such malice, oppression, fraud, and reckless disregard to

necessitate punitive damages in this cause.

       334.    Feamster acted with such malice, oppression, fraud, and reckless disregard to

necessitate punitive damages in this cause.

       335.    The state defendants and agents, and individuals named herein, are legally

responsible for Plaintiff’s special, compensatory and punitive damages, as well as attorney fees.

              COUNT X - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       336.    Plaintiff hereby incorporates by reference each of the allegations set forth in the

preceding paragraphs as if re-alleged fully herein.

       337.    The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, by extreme and outrageous conduct, intentionally and/or recklessly caused severe

emotional distress to Plaintiff, and is subject to liability for such emotional distress.

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        338.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, intended to cause Plaintiff emotional distress.

        339.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, had reason to know that such distress would result from their conduct.

        340.   Plaintiff suffered severe emotional distress due to the bad conduct of the state

defendants and its agents, including Feamster, Hourigan and members of the CFC. The

defendants’ actions exceeded the bounds of common and professional decency.

        341.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, intended to condition Plaintiff’s membership because of her disability, even though

medical experts expressed no concerns for her character, fitness, nor safety.

        342.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC, were aware that their conduct was harmful and detrimental to Plaintiff’s profession,

reputation, and finances.

        343.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC did not curtail their discriminatory conduct despite Plaintiff’s good faith efforts to

negotiate ADA-compliant membership terms.

        344.   The state defendants and its agents, including Feamster, Hourigan and members

of the CFC caused tangible, financial, reputational, emotional, professional, and other injuries to

Plaintiff.

        345.   Punitive damages are appropriate because the state defendants and its agents,

including Feamster, Hourigan and members of the CFC, acted in an oppressive fashion with

specific intent to cause cruel and unjust hardships to Plaintiff, and/or the state defendants and its

agents acted in a wanton and/or reckless disregard for Plaintiff’s constitutional rights, liberties,

reputation, livelihood, confidentiality, and property interests.

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                                   REQUESTS FOR RELIEF

       WHEREFORE, Plaintiff demands a jury trial and requests orders of this Court:

       a.      summoning the state defendants and its agents, including Feamster, Hourigan and

members of the CFC, to appear and answer;

       b.      finding that the Plaintiff is a qualified disabled person in accordance with the

ADA as she either has a disability or is “regarded as having a disability”;

       c.      finding that the practices and policies of the state defendants and its agents,

including Feamster, Hourigan and members of the CFC, discriminate attorneys with disabilities

and tend to screen out members based on unlawful eligibility criteria in violation of the ADA;

       d.      finding that the state defendants and its agents, including Feamster, Hourigan,

Northcutt, Thomas, Larkey, and members of the CFC, wrongfully subjected Plaintiff to

additional, arbitrary and/or unnecessary expense, effort, costs, surcharges and other liabilities in

her admissions process because of her disability or their perception of her as having a disability;

       e.      finding that the state defendants and its agents, including Feamster, Hourigan and

members of the CFC, acted with discriminatory intent, malice, knowledge and/or bad faith;

       f.      finding that conduct of the state defendants and its agents, including Feamster,

Hourigan and members of the CFC, was outrageous and shocking;

       g.      finding the state defendants and its agents, including Feamster, Hourigan,

Thomas, Northcutt, Larkey, and members of the CFC, to be deficient in assuring HIPAA

compliance and medical confidentiality of member files, and ordering Plaintiff’s private medical

records and references thereto to be expunged from all KBA files;

       h.      finding the state defendants and its agents, including Feamster, Hourigan and

members of the CFC, to be deficient in procedures to purge member files of dismissed “show




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cause” pleadings that reveal protected and confidential information, and/or impute poor character

to Plaintiff,

        i.      ordering the state defendants and its agents, including Feamster, Hourigan,

Northhcutt, Larkey, Thomas and members of the CFC, to expunge and redact Plaintiff’s

applications and member files of confidential, HIPAA-protected medical information and

Feamster’s abandoned “show cause” actions;

        j.      finding the state defendants and its agents, including Feamster, Hourigan and

members of the CFC, liable for Plaintiff’s injuries and ordering payment to Plaintiff for

compensatory, punitive and special damages including, but not limited to, reimbursements for

dues paid while suspended, refunds of bond monies paid for formal hearing proceedings, lost

wages, reputation damages, emotional distress, humiliation, loss of livelihood, mental anguish

and other injuries acknowledged under law;

        k.      finding Plaintiff reasonably incurred attorney fees and related costs in her

admissions process and in bringing this action for damages, and ordering the state defendants

and its agents, including Feamster, Hourigan and members of the CFC, to pay for all legal

efforts, experts, consultants, fees and costs;

        l.      awarding any and all punitive and compensatory damages to effectuate justice;

        m.      ordering monetary, injunctive and/or declaratory relief to effectuate justice; and

        n.      awarding any and all other relief deemed appropriate, just and proper.

        o.      Plaintiff hereby reserves the right to amend this complaint.

                                                  RESPECTFULLY SUBMITTED,



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